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IN THE UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,


     v.
                                                Case No. 1:22-CR-673 (LAK)

 CAROLINE ELLISON,




     DEFENDANT CAROLINE ELLISON’S SENTENCING MEMORANDUM


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I.       PRELIMINARY STATEMENT

         Caroline Ellison is a young person of enormous talent and promise, with a deep

commitment to helping others. Tragically, she became embroiled in the very serious crimes

committed at FTX and Alameda Research. Caroline blames no one but herself for what she did.

She regrets her role deeply and will carry shame and remorse to her grave. The goal of this

submission is to respectfully provide the Court with context beyond what was discussed at trial,

so the Court will have a full understanding of Caroline’s life before, during, and after FTX.

         One important piece of context at the outset is Caroline’s complex relationship with Sam

Bankman-Fried. Caroline met Mr. Bankman-Fried at Jane Street Capital in 2015; he was a junior

trader, and she was a summer intern. In just a few years, Caroline watched Mr. Bankman-Fried

found Alameda Research and then FTX, grow FTX into a juggernaut, become one of the world’s

richest men, share stages with former presidents and prime ministers, appear regularly on

television and the cover of magazines and newspapers, and testify before Congress as the

personification of cryptocurrency’s future. Caroline moved around the globe at his direction, first

to Hong Kong and later the Bahamas. Far from home and family, Caroline worked long, stressful,

Adderall-fueled hours, associating almost exclusively with other employees of Mr. Bankman-

Fried.    And Caroline was in an on-again-off-again, sometimes-secret relationship with Mr.

Bankman-Fried that she understood at the time was fundamentally unequal. Deeply unhappy,

Caroline repeatedly considered leaving Alameda, but Mr. Bankman-Fried convinced her to stay,

telling her she was essential to the survival of the business, and that he loved her (while also

perversely demonstrating that he considered her not good enough to be seen in public with him at

high-profile events).

         Over time, Caroline’s moral compass warped. At Mr. Bankman-Fried’s direction, she took

actions that she knew to be wrong, helping him steal billions. She lived in dread, knowing that a


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disastrous collapse was likely, but fearing that disentangling herself would only hasten that

collapse. When FTX finally collapsed, Caroline felt intense sadness for all the people they had

betrayed, but also tremendous relief, because she did not have to go on lying and stealing for Mr.

Bankman-Fried.

       Of course, it did not have to be this way. As the trial testimony revealed, Caroline was a

voice for not doing what led to this disaster. Mr. Bankman-Fried asked Caroline in the fall of 2021

to analyze his plan to spend billions of dollars on illiquid “venture” investments, financed by

having Alameda take open-term loans from third-party crypto lending desks. Caroline advised

Mr. Bankman-Fried that if he did this, any significant turmoil in the cryptocurrency markets would

leave Alameda unable to repay its lenders—even if Alameda took FTX customer deposits. Mr.

Bankman-Fried ignored Caroline’s warning. Mr. Bankman-Fried, Gary Wang, and Nishad Singh

proceeded to take billions of dollars in purported “loans” from Alameda. Caroline only learned

months later of many of these loans, even though they were taken from Alameda, the company for

which she was nominally the co-CEO.

       The venture borrowing spree that Caroline advised against led directly to the central crime

in this case: the theft of billions of dollars-worth of FTX customer funds. After the cryptocurrency

markets stopped their meteoric rise and Alameda’s lenders demanded repayment in June 2022,

Mr. Bankman-Fried, Mr. Wang, Mr. Singh, and Caroline met to examine Alameda’s financial

position, and Mr. Bankman-Fried directed her to take customer funds from FTX to repay

Alameda’s loans. Caroline did as he instructed. And when Mr. Bankman-Fried told Caroline to

lie about it—to Alameda’s lenders, to journalists, on Twitter—she did that too.

       While Caroline committed serious crimes to further Mr. Bankman-Fried’s interests, she

notably did virtually nothing to protect her own. Caroline did not take enormous personal loans.




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She did not receive equity in Alameda Research, and she held only a small amount of equity (less

than 1%) in FTX. While she received significant bonuses at Alameda (consistent with its and her

performance), she always kept most of her assets in her FTX.com user account, withdrawing funds

almost exclusively to make charitable contributions and to pay taxes. But after Alameda used FTX

customer funds to repay its loans in June 2022, she made no further withdrawals. Caroline declined

to transfer any of her own money out of FTX because she believed that to protect herself while

FTX customers remained at risk would be profoundly unfair. Accordingly, when FTX suspended

withdrawals and collapsed, Caroline lost access to the vast majority of her savings.

       After years of serving Mr. Bankman-Fried’s interests, Caroline reasserted her own in

November 2022, when she stopped lying for Mr. Bankman-Fried: At an all-hands meeting of

Alameda employees on November 9, Caroline disclosed the essential facts of and accepted

responsibility for the crimes committed at FTX and Alameda, just as she would nearly a year later,

on the witness stand at Mr. Bankman-Fried’s trial. Caroline immediately began making amends

for participating in those crimes. She encouraged Mr. Bankman-Fried to let FTX and Alameda

declare bankruptcy. Caroline then worked tirelessly to assist FTX’s bankruptcy counsel secure

assets. Caroline voluntarily returned to the United States, retained counsel, and quickly began

cooperating with the U.S. Attorney’s Office, the Securities and Exchange Commission, and the

Commodity Futures Trading Commission, helping them understand what happened at FTX and

Alameda. A little more than a month after FTX declared bankruptcy, Caroline pled guilty, publicly

accepted responsibility for her crimes, and apologized for the resulting harm.

       From her first meeting with prosecutors, Caroline unflinchingly acknowledged her own

wrongdoing, without minimization, blame shifting, or self-pity. And she time and again proved

herself an enormously credible and important cooperating witness. Caroline would provide her




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recollection of an event, and the government would later find documents confirming in minute

detail what she had said. And so the government met with Caroline more than twenty times in

advance of trial. In those meetings, Caroline interpreted Alameda’s intentionally cryptic records,

recalled key conversations not preserved because of Mr. Bankman-Fried’s insistence on ephemeral

messaging, and disclosed conduct that not only provided crucial evidence of the crimes the

government had been investigating from the day of FTX’s collapse, but also allowed the

government to charge Mr. Bankman-Fried with crimes it had no inkling of before learning of them

from Caroline, such as defrauding Alameda’s lenders and bribing Chinese government officials,

see Presentence Report (“PSR”) at 41.

        Caroline did all this even as she faced the kind of public attention and scrutiny few people

will ever have the misfortune to experience. Every shred of her online life was relentlessly picked

over; Internet trolls constantly speculated on her whereabouts, so she had to conceal her identity

whenever she ventured into public; her family members were harassed; news sources shared

salacious and unfounded speculation about her sex life; Mr. Bankman-Fried leaked Caroline’s

deeply private writings to the New York Times, which prominently published them; and the

psychiatrist she shared with Mr. Bankman-Fried disclosed confidential information from her

treatment to a bestselling author, who featured them in the book he released on the eve of trial.

As Caroline came and left the courthouse each day of her trial testimony, she was aggressively

mobbed by photographers and reporters, ultimately requiring an FBI escort and a line of Marshalls

to protect her.

        Caroline came through all that undaunted. Setting aside the media maelstrom enveloping

her, she testified over three days at Mr. Bankman-Fried’s trial about the defendant’s mindset; his

management of FTX and Alameda Research; and his illegal schemes to defraud the customers,




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investors, and lenders of FTX and Alameda. Because Caroline had been truthful since she first

disclosed these crimes in November 2022, Mr. Bankman-Fried’s counsel was unable to impeach

her on cross-examination.          Her testimony was so devastating to Mr. Bankman-Fried that

substantial portions of the government’s closing argument and this Court’s comments at Mr.

Bankman-Fried’s sentencing quoted Caroline extensively. See, e.g., Tr.2979-2982 (government

summation, quoting Caroline’s testimony about defrauding lenders); Dkt. 426 at 51-52 (Bankman-

Fried sentencing, quoting Caroline’s testimony about defendant’s attitude toward risk). 1

         Since the trial, Caroline has focused on rebuilding her life and resolving the civil cases and

other consequences arising from her acts at Alameda Research. Caroline

                       is engaged in volunteer work and writing projects (unrelated to FTX) including

a math textbook and works of fiction. She is finalizing agreements with the government and the

FTX Debtors that she expects will leave her without anything she earned while employed at

Alameda.2 Caroline has also executed a comprehensive settlement with the plaintiffs’ steering

committee in the FTX-related multidistrict litigation. Both the FTX Debtors and the MDL steering

committee have provided letters describing Caroline’s ongoing assistance. See Exs. AI (FTX

Debtors), AJ (MDL plaintiffs). Caroline has also continued to provide information to any

investigations into FTX that have sought her cooperation, including other elements of the

Department of Justice, the SEC, the CFTC, the FTX bankruptcy examiner, and the New York

Attorney General’s Office.




         1
             Citations to “Tr.” Refer to the transcript of Mr. Bankman-Fried’s criminal trial before this
Court.
         2
          We expect these settlements will be consummated before sentencing and will promptly
notify the Court when that occurs.


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       Caroline now stands before the Court for sentencing.           The Probation Department

recommends a sentence of time served with three years of supervised release. See PSR at 40. The

PSR grounds this recommendation in Caroline’s extraordinary cooperation with the government,

her otherwise unblemished record, and the numerous testimonials of Caroline’s honesty and ethical

behavior both before she started working at Alameda and since she left Alameda. See id. at 40-

42. Caroline poses no risk of recidivism and presents no threat to public safety. It would therefore

promote respect for the law to grant leniency in recognition of Caroline’s early disclosure of the

crimes, her unmitigated acceptance of responsibility for them, and—most importantly—her

extensive cooperation with the government.

       Without in any way diminishing the very serious crimes here, we respectfully submit that

the policy goals and interests of justice embodied by the section 3553(a) sentencing factors do not

require sending Caroline to prison, and accordingly request a non-custodial sentence.

II.    CAROLINE’S PERSONAL HISTORY

       A.      Childhood

       Caroline Ellison was born in November 1994 in Boston, Massachusetts to Glenn and Sara

Ellison. PSR ¶72. Caroline grew up in the Boston suburbs as part of a tight-knit and intensely

academic family. PSR ¶73. Both of Caroline’s parents are professors of economics at the

Massachusetts Institute for Technology, and they did not stop teaching when they left campus.

PSR ¶72. Caroline ate dinner with her parents and her two younger sisters each night; they

discussed mathematical concepts, debated economic trends, and disentangled correlation and

causation. See generally Exs. A (S. Ellison), B (G. Ellison), C (A. Ellison), D (K. Ellison).

        “Caroline was evidently an unusually gifted child.” Ex. L (E. Duflo) at 1. Caroline’s

parents “taught her to read at about 2½,” “[s]he was reading novels by 4 and had surpassed [her

mother] in reading speed and comprehension by 5.” Ex. A (S. Ellison) at 2; see also, e.g., Ex. K


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(C. Snyder) at 1. Her mother explains that “keeping her in books [as a child] was difficult and

expensive.” Ex. A (S. Ellison) at 2. Eventually, her parents would limit the time she spent reading

because, in Caroline’s words, “they wanted me to get a life” and spend time outside with friends.

Her parents also resisted teachers’ suggestions for Caroline to skip multiple grades, for fear it

would impede her social development. See Ex. AA (K. McFarlane). Caroline’s love of literature

grew into a passion for writing. A family friend recalls that during a biennial weekend spent with

the Ellisons and other academic families, Caroline, “the oldest, would script and direct a play with

the other ten or twelve children, which they would perform for the parents[,] … despite the[

younger children’s] sometimes wandering attention.” Ex. K (C. Snyder) at 1. To this day, Caroline

loves writing and she entertains her friends by drafting elaborate scripts for role playing games for

them to act out. See Exs. G (L. Clark) at 2, M (A. Yedidia).

       During Caroline’s childhood, her parents twice moved the family to take year-long

academic fellowships. PSR ¶76. After returning to Massachusetts for good, Caroline felt socially

adrift and craving a sense of belonging. Around this time, Caroline “developed a keen interest in

math,” and she spent hours with her father “talking through logic puzzles” and learning

“rudimentary programming.” Ex. A (S. Ellison) at 2. Caroline found community by joining her

middle-school math team. Caroline spent four hours a week attending team practices, another four

hours attending supplemental math classes each Saturday, and even more time attending math

competitions against other schools. Caroline was eventually named captain of her math teams in

both middle and high school. On both teams, Caroline was known for fostering an inclusive culture

that “made other girls … want to join,” leading to an unusual gender balance for an interscholastic

math team. Ex. B (G. Ellison) at 2. Caroline also became an internationally ranked competitor in




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linguistics competitions. See Ex. V (A. Hesterberg) (describing Caroline’s award for writing the

best solution at the 2011 International Olympiad in Linguistics).

       As several people who have known Caroline since childhood explain, “Caroline stood out

for her independence and determination. She wanted to do everything by herself.” Ex. L (E.

Duflo) at 1. According to Caroline’s mother, “one of her first phrases, betraying an essential aspect

of her personality, [was] ‘by self.’” Ex. A (S. Ellison) at 1. For example, when Caroline was 16

years old, she asked to spend a summer at a Chinese immersion school in China, after having

studied Mandarin for about six years, but her parents could not find any program oriented toward

students like her. See id. So, Caroline set off on her own for a three-week program designed for

adults learning Mandarin for professional reasons. See id. Caroline only realized upon arriving in

Beijing that she was the only child in the program; though overwhelmed, she thrived. See id.

       Despite Caroline’s brilliance, her friends and family know her as someone “low-key and

down to earth,” who “has never seemed particularly interested in glamour or being the center of

attention.” Ex. Q (J. Chevalier). Caroline “stood out in her unfailing kindness,” as a person who

“consistently helped create positive and compassionate spaces” for others. Ex. AD (D. Wang).

Many of the letters written in support of Caroline are from friends who have known her since

childhood, and they uniformly describe her as “extremely generous and loyal towards others,” who

often “expresse[s] her friendship in many small ways,” Ex. F (M. Dinsmore) at 2, and who “rarely

puts herself or her needs first,” Ex. A (S. Ellison) at 4. Several letters describe how Caroline’s

friends and family were “struck by how much love and support she showed to a close friend around

the time of that friend’s father’s death” by suicide. Ex. F (M. Dinsmore) at 2; see also Ex. A (S.

Ellison) at 2. In the wake of this tragedy, Caroline recalls that her friend spent so much time at

her house that she was thought of as a fourth Ellison sister. Nor was Caroline’s support for a friend




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in crisis a one-off occurrence. A childhood friend’s letter describes Caroline’s supportive reaction

when he lost a brother to suicide in 2021:

       Although Caroline and I were not in regular communication at that time, she went out of
       her way to extend herself and make herself available to me in an extraordinary manner.
       Those who have experienced loss often report that even close friends and family pull away
       in the aftermath: not Caroline. Her response was far beyond what I could have expected.
       Ex. F (M. Dinsmore) at 2.
       B.      College

       After high school, Caroline moved to Palo Alto to study mathematics at Stanford

University. In the words of Caroline’s academic advisor in the mathematics department, “she

thrived” academically. Ex. N (R. Vakil). Caroline’s transcript is laden with advanced math and

linguistics courses, and she was accepted to a master’s program in computer science. See id.

Caroline also developed deep and lasting friendships, as reflected in several letters of support from

her college classmates. See Exs. H (                   ), O (        ).

       Outside of class, Caroline’s most significant activities revolved around Stanford’s effective

altruism (“EA”) community, which she helped foster. “[E]ffective altruism is the project of using

evidence and reason to figure out how to benefit others as much as possible, and taking action on

that basis…. [E]ffective altruists aim to maximise the wellbeing of all, where … everyone counts

for one, and no-one for more than one.” W. MacAskill, “Effective Altruism: Introduction,” Essays

in Philosophy 2, Vol. 18:1 (2017). Caroline recalls that EA was just beginning to gain adherents

at the time; she learned about EA in various online communities devoted to the philosophy of

rationalism, which appealed to her as she moved away from the Catholic faith of her youth. A

friend from one of Caroline’s first-trimester courses invited Caroline to join an EA group she was

starting. Caroline was the fifth member; but the small, dedicated group soon grew. Caroline read




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deeply in the burgeoning EA literature and started a blog on which she wrote about EA-related

topics.

          As described in many of the attached letters, Caroline has spent an enormous amount of

time throughout her life considering how to live ethically. Even in “high school … Caroline spoke

frequently about moral principles, how to live a good life, and obligations of service to others.”

Ex. F (M. Dinsmore) at 1. For many years before attending college, Caroline’s Catholic faith

framed this question. She prayed regularly, attended church with her mother and sisters, and was

“a devout altar server,” Ex. K (C. Snyder) at 1. But, as her lifelong friend and Confirmation

classmate explains in his letter, Caroline began to struggle with her faith late in high school. See

Ex. F (M. Dinsmore) at 1. This was a stressful experience, as Catholicism formed the basis of her

moral framework, bound her to her family, and provided her with an important source of

community. This ethical evolution left Caroline “looking for something more intellectually

coherent, in her view, than Catholicism seemed to be.” Id. Eventually, “Caroline became

interested in [EA].” Even to her friends and family critical of EA, Caroline’s embrace of EA

“seemed like the logical outcome of her passion for ethical commitment, one that offered

community and purpose in a secular manner.” Id. A close family friend explained that it is “[m]y

firm belief … that” Caroline’s “move[] from Catholicism to Effective Altruism … was a

continuation of her spiritual journ[ey], a serious search for how to live a good and holy life.” Ex.

K (C. Snyder) at 1.

          Caroline found herself particularly drawn to the EA precept of “earning to give,” which “is

the idea that instead of working directly to tackle a pressing problem, you take a job where you

earn more money than you would have otherwise and donate much of the extra to fund others




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doing effective work on those problems.”3 As described in numerous letters, Caroline began to

donate a large portion of her spending money to charity and would carefully research different

organizations and causes to determine which contributions would likely have the greatest overall

benefit. Initially, Caroline focused on global health and animal welfare charities (she has been a

vegetarian since age 16). Over time, however, Caroline became increasingly concerned about

long-term societal prospects. As a college friend explains:

       Caroline subscribed to a[n] … esoteric philosophy – that the happiness of people yet to be
       born is as important as ours today. … Caroline also expressed concern that artificial
       intelligence would take over the world and cause humanity’s extinction. This worldview
       led Caroline to believe that her highest and best purpose should be to make as much money
       as she could while spending those funds on preventing this AI disaster…. [M]any people
       in Silicon Valley [shared Caroline’s concern], including some of its most powerful leaders.
       Ex. G (L. Clark) at 1.
Later, Caroline would devote much of her charitable giving to AI safety efforts. One painful

consequence of Caroline’s crimes has been that she has been totally cut off from the EA movement,

to which Caroline had been so devoted.

       College also led to Caroline’s first experiences dating. Caroline’s early relationships

presage in certain ways her dynamic with Mr. Bankman-Fried years later. For instance, when

Caroline was a first-year student, there was a fourth-year man who kept asking her out and hanging

around; though she was not interested in him, she “wasn’t good at saying ‘no’ to him,” and

eventually agreed to go out with him. They dated for several months. Despite never being

enthralled with him, when he eventually broke up with Caroline she was “super upset.” Some of

her friends see this relationship as one of several “situations where [Caroline] became involved in

relationships that were not particularly good for her.” Ex. H (                 ) at 1. Caroline’s



       3
           B. Todd, Why and how to earn to give, 80,000 Hours (Mar. 2023),
https://80000hours.org/articles/earning-to-give.


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close friend from Stanford “remember[s] feeling frustrated on more than one occasion that an

otherwise intelligent young woman had what seemed to me to be sub-optimal judgment when it

came to romantic relationships.” Id.

       C.      Jane Street

       During her junior year at Stanford, Caroline’s burgeoning commitment to EA led her to

apply to paid internships, in which she could earn money to donate. Caroline had no intrinsic

interest in finance at the time, but a job in finance seemed to her like one of the best ways to earn

significant amounts of money, which she could then give away to the public health and animal

rights charities she thought would be most helpful. See Ex. I (S. Fisher) at 2 (explaining that

“Caroline planned to donate most of her salary to charity,” much to the “exasperat[ion]” of her

mother). After applying to internships at technology and finance companies, Caroline received

three offers from financial companies. She chose to spend her summer at Jane Street Capital,

because it seemed like the most fun and interesting of her options. So, in June 2015, Caroline

moved to New York City to spend the summer as a trading intern at Jane Street.

       It was during this summer internship that Caroline first met Mr. Bankman-Fried, who had

been working as a full-time trader at Jane Street for about a year. See Tr.642:22. Caroline recalls

that she and Mr. Bankman-Fried first met during a mock trading exercise, for which he was serving

as a coach. Caroline knew that Mr. Bankman-Fried—another child of two professors—also

subscribed to EA, and they immediately bonded over this shared interest. Caroline recalls getting

to know Mr. Bankman-Fried during a Jane Street-sponsored dinner held at a Brazilian steakhouse,

at which they bonded over their mutual vegetarianism. Caroline developed a crush on Mr.

Bankman-Fried during this time. However, nothing came of these feelings during Caroline’s




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summer internship. Mr. Bankman-Fried worked on a different trading desk, so they interacted

relatively infrequently.

       During her summer internship at Jane Street, Caroline learned how to think like a trader,

which meant becoming comfortable with taking risks. Caroline recalls being “risk averse” when

she started, as most people are, but Jane Street created an environment to train interns to think

principally about maximizing the expected value, or “EV,” of their trading strategies and not to

focus on what they might lose. See Tr.694:13-18. Jane Street inculcated this “risk neutral”

mentality in part through formal training, like mock trading sessions; Caroline recalls getting

nervous and freezing up, unable to do quick calculations under time pressure during trading

simulations. Jane Street also cultivated a culture of risk taking, whether through games or by

constantly betting on little things, like facts people wondered about or had forgotten. Caroline was

familiar with the concept of “expected value” before her summer at Jane Street—“expected value”

is a fundamental concept in statistics, a key tool in economic modeling, and an element of EA

ethics—but Caroline does not recall casually using the concept of “EV” to structure her thinking

before working at Jane Street. Caroline’s training and trading experience at Jane Street taught her

to focus only on a trading strategy’s EV and not to focus on potential losses.

       Caroline enjoyed her summer at Jane Street, which stimulated an interest in finance. But

Caroline recalls being concerned that she would not get a full-time offer. Caroline arranged to

stay at Stanford for a fifth year for a master’s degree program in computer science, because this

would make her eligible for another Jane Street internship after her senior year. PSR ¶87. Caroline

again interned at Jane Street in the summer of 2016. But her worries proved unfounded—within

weeks of starting her second internship, Jane Street asked Caroline to forego her master’s program

and to take a full-time position as an entry-level quantitative trader. See id. She agreed.




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       Caroline started her first full-time job, as an assistant quantitative trader on the equities

desk at Jane Street in fall 2016. See Tr.647:19-20. Her responsibilities remained limited during

the roughly one-and-a-half years she worked at Jane Street. She contributed to the development

and testing of the firm’s algorithmic trading models, but Caroline was never responsible for

making important trading decisions. Caroline neither managed funds for any client nor allocated

Jane Street’s proprietary capital. Caroline did not interact with any other external parties, clients,

investors, lenders, or trading counterparties. She did not supervise any employees, hire or fire

anyone, set any person’s compensation, or handle any disciplinary matters. Caroline did not set

or enforce any corporate policies, and she had no interaction with legal or compliance functions,

other than attending the basic training programs required for all entry-level traders.

       Caroline’s choice to work in finance surprised many who had watched her grow up. See,

e.g., Ex. C (A. Ellison) at 2. “Candidly, I was fairly surprised when I heard that she was planning

on going into finance,” her uncle writes. Ex. J (M. Ellison) at 2. “I always assumed she would

eventually be a professor or go into government and work on something like cryptology.” Id.

Caroline’s friends and relatives uniformly insist that Caroline was not motivated to go into finance

by getting rich—at least not to use the money for herself. “Growing up, Caroline … never seemed

to be interested in being wealthy, buying expensive clothes, jewelry or cars. She actually always

seemed to be very conservative about money and never appeared to feel a need to impress anyone

in anything outside of academics.” Id. at 1. A family friend writes: “I have little doubt that

Caroline was fully committed to the ‘earn to give’ philosophy not to generate wealth for herself

but to give as much as possible to effective charities.” Ex. K (C. Snyder) at 1. Like others, he

notes that Caroline’s economist-parents “deeply admired her generosity” but were “somewhat

distressed that she was giving away most of her [Jane Street] salary each year to charitable causes,”




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rather than “save a greater portion to buy a house for herself and provide for her eventual family.”

Id. See also, e.g., Ex A (S. Ellison) at 4.

       In New York, Caroline’s social circle consisted primarily of other Jane Street employees

(including Mr. Bankman-Fried), because most of her college friends had remained in the Bay Area.

Eventually, Caroline started dating a fellow Jane Street trader who had started around the same

time as she. See Ex. C (A. Ellison) at 2. Caroline recalls recognizing at the time that this was an

unhealthy relationship, but she remembers feeling unable to leave it, largely because they shared

a workplace and a primary group of friends. As one of Caroline’s close college friends explains:

       “[Caroline] was very serious about the relationship, … [but early on] he said that he did
       not love her, and that he felt it was unlikely he ever would. Caroline was deeply hurt by
       this, yet she continued to date him for the better part of a year after that. [Caroline]
       expressed … that the relationship made her unhappy, but she could not seem to work up
       the momentum to leave it. It wasn’t until the opportunity at Alameda came up that she felt
       able to break things off with him, and it was not long after that she moved to California.
       In some ways, it seemed like taking the job at Alameda was an escape from the situation.
       Her romantic involvement with Mr. Bankman-Fried began within the year.”
       Ex. H (                   ) at 1-2.
       D.        Alameda Research

                 1.    Berkeley, California

       In February 2018, Jane Street sent Caroline on a fateful recruiting trip to the Bay Area.

While in Berkeley, California, Caroline met up for coffee with Mr. Bankman-Fried, who had left

Jane Street to start his crypto trading firm, Alameda Research, several months earlier. See Tr.648.

During the meeting, Mr. Bankman-Fried explained that trading crypto was a new and exciting

business. Mr. Bankman-Fried also described how he had started Alameda Research with other

people involved in the EA community, that the company had an EA ethos, and that it was largely

funded by wealthy people he knew through the EA movement. Caroline recalls Mr. Bankman-

Fried arguing that her joining Alameda Research would be “high EV”—both for her and for the



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world—because she had the potential to make a lot more money at Alameda than she could at Jane

Street, so she could give more to charity. Caroline was aware of cryptocurrencies, but she was not

particularly focused on blockchain technologies or the cryptocurrency sector. Motivated by EA’s

“earn to give” ethic, Mr. Bankman-Fried’s argument made sense to her. As Caroline’s sister

explains:

       Part of [why Caroline joined Alameda Research] was of course that she thought she would
       do well at the job and enjoy it, and part was that it would enable her to donate large amounts
       of money and make the financial system more efficient. A larger part, though, was that
       she was extremely lonely and was looking for a place to find a new start. At her previous
       job she had dated a coworker who, after over a year of dating, still was not in love with
       her. When they broke up, she felt like she had lost the support of her friends, who had been
       his friends first, and was still forced to see him every day at work. In what seemed to her
       to be fortunate timing, Sam offered her the job at Alameda, and she took it in large part as
       a way out of this difficult situation.
       Ex. C (A. Ellison) at 2.
After Mr. Bankman-Fried told Caroline that Alameda Research was having financial success and

described its cryptocurrency trading business, Caroline “asked if he wanted [her] to work there[,]

and he said yes and gave [her] a job offer. [She] thought about it for a bit and decided to quit Jane

Street and move to California to work for him.” Tr.648:15-18.

       Caroline moved to Berkeley, California and started at Alameda Research as a

cryptocurrency trader in March 2018. See Tr.648. She was twenty-three. It was her second full-

time job. Tr.648:19-20. Nobody could have predicted that in barely three years, Mr. Bankman-

Fried would name her Alameda’s co-CEO. And it would have been entirely unthinkable to

Caroline (or to anyone who knew her) that a little over a year after that, she would be in a courtroom

pleading guilty to her role in a multi-billion-dollar fraud.

        “Shortly after [Caroline] started, [she] learned”—not for the last time—that Mr. Bankman-

Fried had not been honest with her. Alameda “was in much worse shape than [she] realized. Right

before [she] had started working there, they had suffered large losses” from errant cryptocurrency


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transfers and money-losing trades.      Tr.648:25-649:3.    Mr. Bankman-Fried had previously

empowered four people as managers of various parts of the business, and after the losses were

detected, Caroline recalls those four people advocated disclosing the losses to the wealthy

investors who had lent Alameda Research the capital it used for trading. Mr. Bankman-Fried

refused, saying Alameda would return to profitability.        Eventually, those four employees

disobeyed Mr. Bankman-Fried’s directives and told the lenders anyway. As a result, the lenders

recalled much of their remaining investment, and (under pressure from Mr. Bankman-Fried) the

four managers quit, along with many of Alameda Research’s other employees. Tr.649:3-5.

       Mr. Bankman-Fried had not mentioned any of this brewing crisis to Caroline before she

left Jane Street and moved across the country to join his company—even though, as he later

admitted to Caroline, he had known about it at the time he offered her the job. See Tr.649:6-14.

Eventually, Caroline recalls that Alameda recovered the funds lost in the errant transfers and had

several months of profitable trading. Caroline recalls thinking at the time that Mr. Bankman-Fried

had ended up being correct and succeeding in business when others doubted him. Caroline now

sees this episode as a missed warning, because it illustrates many of Mr. Bankman-Fried’s worst

tendencies: his willingness to lie, his instinct to hide losses and other corporate problems, his

unwillingness to consider others’ advice, and his insistence on maintaining total control of the

company.

       Once the immediate crisis passed, Caroline enjoyed her work at Alameda Research for a

time. As a trader, she was responsible for doing research, developing mathematical trading

models, and monitoring automated trading systems. Tr.649:15-19. She found the cryptocurrency

markets interesting, and she liked the fast pace of learning and the quick turnaround from

proposing an idea to implementing it.




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       Caroline initially worked reasonable hours as a cryptocurrency trader. But as her trading

skills developed, she was given expanding responsibilities, which dramatically increased her

workload. Because “cryptocurrency trading happens 24/7 and is punctuated by unexpected

events[,] [s]omeone has to monitor the trading systems at all hours.” Ex. G (L. Clark) at 2. In the

fall of 2018, Caroline began to feel pressure from Mr. Bankman-Fried to work 80-90 hours per

week and to take overnight shifts monitoring the trading systems. As a result, there were several,

months-long periods when Caroline would work from 9:00 pm to 9:00 am six or seven days per

week. “[T]hose night shifts were hard on [Caroline;] [s]he spent many of them sitting alone, in

front of a monitor and a sunlamp, desperately trying to stay awake.” Id. Her friends would rarely

see her. Id. She was so busy that, at one point, Mr. Bankman-Fried pressured her not to attend

her uncle’s funeral after his unexpected death, even though it was being held just a few hours away,

arguing that it was more important for her to stay at the office and work. (She ultimately attended

the funeral anyway, wanting to support her father during a very difficult time.)

       Caroline struggled to keep up, even as Mr. Bankman-Fried pressured her to work more,

and to take on more night shifts. Caroline recalls that Mr. Bankman-Fried suggested she obtain a

prescription for the amphetamine Adderall to stave off fatigue. Amphetamine use was common

at Alameda; Caroline had no trouble obtaining a prescription from the same psychiatrist used by

Mr. Bankman-Fried, his brother, and others in his orbit. Over time, Caroline increased the amount

and the frequency of her Adderall use. See Ex. AM (Reflections on Vacation, Mar. 18, 2022) at 1

(“The amount of adderall I’ve been taking has crept up slowly over the past couple years from 10

-> 15 -> 20.”). In April 2022, while reflecting on why she was feeling bad, and bad about herself,

Caroline wondered if “maybe I’m hitting issues with adderall tolerance,” because “my usual dose

doesn’t give me the confidence and motivation it used to [] but also if I try taking more it makes




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me jittery/anxious.” Ex. AN (Thoughts 4/15) at 1. At the time, she considered “tak[ing] time off

work and detox[ing] from adderall.” Id. at 2. Reflecting now, Caroline believes that this

amphetamine use made her more risk-seeking, more focused on the task at hand but less thoughtful

and reflective. It narrowed her focus to completing whatever task Mr. Bankman-Fried had

assigned her and left her less inclined to step back and think about whether the situation made

sense.

         Caroline’s work relationship with Mr. Bankman-Fried was complicated by her romantic

feelings for him. Several months after starting at Alameda, Caroline’s crush on Mr. Bankman-

Fried returned, and he seemed to reciprocate. Around September 2018, Caroline told Mr.

Bankman-Fried about her feelings. He proposed they have sex, but Caroline refused, because he

was dating someone else. About a month later, however, Mr. Bankman-Fried’s other relationship

ended, and a day after that, he began a sexual relationship with Caroline. See Tr.650:2-10. From

the start, Mr. Bankman-Fried’s behavior was erratic and manipulative. He initially professed

strong feelings for Caroline and suggested their liaison would develop into a full relationship. But

after a few weeks, he would “ghost” Caroline without explanation, avoiding her outside of work

and refusing to respond to messages that were not work-related. One day in late 2018, Mr.

Bankman-Fried moved to Hong Kong for several months without telling Caroline. When he

returned, he apologized and rekindled their relationship, only to ghost her again in the same way

a few weeks later. This cycle repeated itself several times. Throughout this period, Mr. Bankman-

Fried remained Caroline’s boss, retained the title of CEO of Alameda Research, and insisted on

keeping their relationship a secret. Cf. Tr.684:22-25.




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              2.      Hong Kong

       Starting in late 2018, Mr. Bankman-Fried spent an increasing amount of time in Hong

Kong, seeking to build connections with East Asian cryptocurrency companies and to fundraise.

See Tr.2312 (Bankman-Fried). Eventually, Mr. Bankman-Fried, Gary Wang, and Nishad Singh

obtained investments from Binance and others, and they began building the FTX.com exchange

platform. See Tr.2313 (Bankman-Fried). Caroline was not involved in this effort, or in building

the back door that allowed Alameda to borrow from FTX. See Tr.660:8-13. During this time, Mr.

Bankman-Fried occasionally returned to check in on Alameda Research’s offices in Berkeley, and

Caroline twice visited the growing office in Hong Kong. Eventually, in the second half of 2019,

Mr. Bankman-Fried pressured Caroline and other Berkeley-based employees to move to Hong

Kong. Although Caroline did not want to leave her friends, she relented and moved to Hong Kong

in November 2019. PSR ¶ 76.

       In Hong Kong, Caroline lived in a “bubble,” centered on Mr. Bankman-Fried. Ex. F (M.

Dinsmore) at 2. Other than colleagues who also worked for Mr. Bankman-Fried at FTX and

Alameda Research, the only people Caroline knew in Hong Kong were some friends who worked

in the Jane Street office there—and they were roommates of Mr. Bankman-Fried. By this time,

Caroline was responsible for assigning shifts among the Alameda Research traders, but “she often

gave overnights to herself because nobody else wanted to do them.” Ex. G (L. Clark) at 2. As a

friend and colleague recalls, “[i]t became a running joke among those … of us with day jobs that

we never knew when or if we would see her.” Id. Caroline’s isolation was exacerbated when,

soon after moving to Hong Kong, the COVID-19 pandemic set in, causing travel between the

United States and Hong Kong to become very difficult. Caroline’s childhood friend described

how Caroline effectively disappeared during this time:




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       [I]t surprised me when, around the time she joined Alameda, Caroline seemed to pull away
       from many of the people close to her. Once she moved abroad, she seemed to vanish; I
       certainly lost contact with her, and I gathered from a number of her friends that she was
       increasingly isolated in a bubble of people surrounding Sam Bankman-Fried, their work,
       and effective altruism. This was especially strange to me because it seemed so out of sync
       with Caroline’s earlier priorities, namely ideas and people. I had always assumed Caroline
       would be a professor or perhaps do mission-driven nonprofit work, and instead she was
       involved in high-risk trading, even though she had never expressed any desire for financial
       gain to me. I had always assumed Caroline would be surrounded by family, friends, and
       community, but instead she was living in seclusion from her natural environment. The
       further she went into this bubble, the less she resembled the Caroline I had known before—
       and the Caroline she is today.
       Ex. F (M. Dinsmore) at 2; see also Ex. I (S. Fisher).
       Caroline’s writing from that time reflects the emotional and psychological toll exacted by

her work, her isolation, and her complicated relationship with Mr. Bankman-Fried. In a digital

file titled “My Life” that she wrote during the summer of 2020, during her first trip back to the

United States after moving to Hong Kong, Caroline described “bouts of feeling lonely” and “bouts

of feeling like my life is dark and hopeless”:

       This really needs to stop. I think my mood for the past couple months qualifies as
       borderline clinical depression…. It definitely makes me less effective at work. It also just
       sucks. I’m not willing to feel like this long-term and need to do something to stop it, one
       way or another.
       Ex. AL (My Life) at 1.
Caroline identified as “potential culprits” her “work stress,” “isolation in Hong Kong,” and “Sam.”

Id. Caroline continued her “introspection”:

       I wonder if maybe a lot of stuff traces back to feeling romantically rejected by Sam.
       I think when Sam and I are sleeping together, or are in “flirty mode,” I feel better about
       work and life, and don’t have the same negative spirals.
       A lot of what stresses me out about work is specifically failing Sam, or Sam’s disapproval
       or something. I get easily upset when he disagrees with me or criticizes me, in a way that
       I don’t think I get upset if other people do the same things. Maybe I feel like: Sam is
       rejecting me for not being good enough, and then everything else he says or does is just
       rubbing this in.
       Id. at 3.



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Caroline contemplated quitting Alameda Research:

       Part of me feels like all this introspection. this “I have to work through my feelings,”
       thinking about exercise and therapy and whatever are just dumb, when I’m fighting a really
       uphill battle to be happy or even okay in this situation and I should just quit.
       Partly I’m not sure why I don’t want to quit, and I’m worried the reasons to stay are all
       generated within the framework of “be good enough for Sam” making them suspect.

       Id. at 5.

Caroline did not quit, nor did she move back to Berkeley.

       Just before her trip to the United States, Caroline recalls Mr. Bankman-Fried asked to visit

her apartment for a discussion. After he rambled for a while, Caroline said she had expected him

to ask her to start a real relationship. Mr. Bankman-Fried said he wanted to have sex, but that he

was not interested in any commitment. Caroline refused. However, as soon as she left Hong

Kong, she recalls Mr. Bankman-Fried started messaging and calling her, and he eventually

proposed that they begin a real relationship. The two exchanged several more, long messages,

with Caroline questioning the wisdom of starting a relationship and Mr. Bankman-Fried professing

to love her and saying he wanted to be with her forever. Caroline was eventually convinced, and

after she returned from visiting the United States, they started dating. See Tr.650:8-9. However,

Mr. Bankman-Fried again insisted on keeping their relationship secret. See Tr.684:24-25. He

rarely agreed to go out or spend time together, and he refused to share with Caroline his thoughts,

feelings, or even news of his daily life. Caroline described to a friend her relationship with Mr.

Bankman-Fried as “asymmetric,” a pattern exacerbated by their lopsided power dynamic at work,

where they spent most of their time. Ex. H (                   ) at 2. A college friend recalls “in

July 2021, after receiving some kind of work feedback, [Caroline] mentioned, ‘having this boss-

employee dynamic where Sam tells me I’m doing something wrong just makes our relationship

weird.” Id.



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       Over the following year, Caroline tried to break up with Mr. Bankman-Fried repeatedly,

“but a few words from him would change her mind.” See Ex. H (                            ) at 2. Her

friend describes Caroline as “like someone who says they want to give up smoking but can’t seem

to stop sneaking cigarettes.” Id. Caroline “talked about breaking up with him a lot.” Id. In July

2021, Caroline messaged a college friend about the challenge of leaving Mr. Bankman-Fried:

       There’s definitely a part of me that feels relieved by the idea of us breaking up which is
       maybe a sign that we just should …. It just feels like there are so many worries and
       questions and confusions right now, and breaking up would just get rid of all of them and
       things would be simple and easy. But also obviously there’s a part of me that feels really
       sad about it, and like, is avoiding even thinking about not being with him anymore because
       the idea feels too horrible. Also [to be honest] it would kind of fuck up my whole life, like
       I work with him, I sit 5 feet away from him, my main friend group is his roommates and
       their other friends.
       Id. (quoting message from Caroline).
       Caroline did eventually try to break up with Mr. Bankman-Fried, later in summer 2021,

when she was about to leave Hong Kong for a trip to the United States. See Tr.650:9-10. Caroline

recalls planning to take some time to herself, back in the United States, to consider whether to quit

Alameda Research. After Caroline broached the topic of ending their relationship, Mr. Bankman-

Fried proposed they instead take a “break” to think about it while she traveled. Caroline recalls

that Mr. Bankman-Fried had repeatedly said that he did not want to publicly date an employee.

So, when Mr. Bankman-Fried messaged her during her trip and proposed making her co-CEO of

Alameda, she took this as a positive signal that he might be willing to openly acknowledge their

relationship; she decided not to quit and returned to Hong Kong. But after she had gone through

Hong Kong’s lengthy COVID-19 quarantine process and was able to see Mr. Bankman-Fried again

in person, he said he had changed his mind. Caroline recalls him saying that he thought she had

been right earlier, and they should just break up. At that point, having just been publicly named




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co-CEO and getting through Hong Kong’s quarantine process, Caroline recalls feeling that she

was stuck again at Alameda Research. A colleague in Hong Kong recalls:

       In September 2021, when she and Sam broke up, she told me she was miserable. Of course!
       She worked for a firm owned by her ex-boyfriend, in an industry that valorized him. “So
       why not move back to Berkeley?” I asked her. She was rich, talented and smart. I thought
       she could do great things. To this day, I don’t know why she didn’t, but I wish she had.
       Ex. G (L. Clark) at 3.
               3.      Nassau, Bahamas

       Around the time that Caroline broke up with Mr. Bankman-Fried, he unilaterally decided

to move the joint headquarters of Alameda Research and FTX again—this time to the Nassau, in

the Bahamas. Again, Mr. Bankman-Fried pressured Caroline to move along with him. PSR ¶ 76.

This move only deepened Caroline’s envelopment in Mr. Bankman-Fried’s world.                From

Caroline’s perspective, Hong Kong had at least been a big city with many things to do and at least

a few friends who did not work for Mr. Bankman-Fried. In the Bahamas, Caroline lived on a small

island where the only people she knew were employees of FTX or Alameda Research, and the only

activities were working and hanging around the development where they all lived in shared

apartments that Mr. Bankman-Fried had directed the companies to purchase. Caroline recalls this

move pushed her closer to the other people at FTX and Alameda Research and further cut her off

from the rest of the world.

       Caroline’s living situation in the Bahamas exacerbated the complicated dynamics between

her and Mr. Bankman-Fried. Shortly after arriving in the Bahamas, Caroline asked several

colleagues if they wanted to share a house. But soon thereafter Mr. Bankman-Fried approached

the same people to live with him. Caroline opposed cohabitating with Mr. Bankman-Fried (they

had just broken up), but it was clear that her FTX colleagues would choose to live with FTX’s

CEO if forced to pick between them. Caroline thus resigned herself to living alone, even though



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she predicted this would lead to her being excluded from her principal group of friends in the

Bahamas. But then, Mr. Bankman-Fried proposed that he and Caroline resume dating—this time

without keeping it secret. See Tr.684:25-685:3. Thinking this signaled that Mr. Bankman-Fried

was committed to a more normal relationship, Caroline agreed. See Tr.650:9-10. Caroline

nevertheless recognized quickly that this relationship was still unhealthy: When she told a college

friend in December 2021 “they had gotten back together …, she commented, ‘Maybe it’s a dumb

idea.’” Ex. H (                  ) at 2. Shortly thereafter, Caroline moved into a shared bedroom

with Mr. Bankman-Fried at the “Orchid” condo at The Albany. See Ex. M (A. Yedidia).

       By the time she moved to the Bahamas, Caroline had become wealthy, at least according

to her FTX.com user account. See Tr.1004:7-10. During the summer of 2021, Mr. Bankman-

Fried had appointed Caroline to be co-CEO of Alameda Research, alongside Sam Trabucco, see

infra pp.54-55. Mr. Bankman-Fried did not increase Caroline’s base salary of $200,000, which

had remained the same since she was hired. Tr.685:4-9. But Caroline also received twice-yearly

discretionary bonuses, composed of U.S. dollars and FTT, deposited into her FTX.com user

account. See Tr.685:10-22.4 Caroline was also given the opportunity, along with other FTX and

Alameda employees, to purchase locked SRM tokens at a preferential initial price. These SRM

tokens soared in value and constituted the bulk of Caroline’s wealth at its peak, but they were only

useful to Caroline if Mr. Bankman-Fried allowed her to access them: Mr. Bankman-Fried had

arranged the transaction so that Caroline could not sell or transfer the locked SRM tokens without

his consent. After she was appointed co-CEO, Caroline asked Mr. Bankman-Fried to be given

some equity in Alameda Research, but he refused. See Tr.686:1-5.



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        As a component of her bonus payments, Caroline also received FTX equity, which she
never monetized and is now worthless. See Tr.686:9-12.


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       Mr. Bankman-Fried had sole discretion to set Caroline’s bonus. See Tr.687:13-14. Mr.

Bankman-Fried’s unpredictable payment of her bonuses would, at times, leave Caroline feeling

vulnerable and serve as a reminder of his authority. For instance, in early 2022, when Caroline

was due her bonus for the second half of 2021—her first bonus as co-CEO—she recalls that Mr.

Bankman-Fried declined to inform her of the amount or make any payment for months after

Caroline understood other Alameda and FTX employees received their bonuses.                  Caroline

perceived this delay as another stark reminder that, although her title was “Co-CEO,” everything

at FTX and Alameda was subject to Mr. Bankman-Fried’s whim. Cf. Tr.687:12-14 (“[H]e was the

person I officially reported to. He owned the company. And he was the one who set my

compensation and had the ability to fire me if he wanted.”).

        Despite the value of her FTX.com user account, Caroline never lived an extravagant life.

As a colleague who lived with Caroline in the Bahamas explains:

       At the peak of Alameda’s success, Caroline lived a comfortable life but not a flashy one.
       One reason we remained friends despite her seemingly immense wealth was because she
       never bragged about it. She didn’t fly private jets, or sponsor celebrity galas, or buy a yacht.
       Once she asked me for my thoughts on how she should redecorate her room in the
       Bahamas. I remarked that the wealthy people we knew in New York hired interior
       designers and paid tens of thousands of dollars for the service. In the end, she decided that
       a $150 online design service was good enough for her.

       Ex. G (L. Clark) at 2.

At no point did Caroline buy real estate, vehicles, designer clothing, or other luxury goods. As her

mother explains:

       Caroline … has always shopped at The Gap, wears a threadbare coat and shoes that are
       falling apart, and rarely chooses to wear jewelry—she finds it wasteful to spend money on
       luxuries when there are people in the world who do not have enough to eat. (I have, on
       multiple occasions, felt compelled to buy her a decent pair of shoes so that she did not
       permanently damage her feet, even when her net worth was so many times mine.) While
       at Alameda, Caroline did not buy lavish gifts for us or much at all for herself, refusing even
       to purchase a modest apartment or house when she had plenty of money, despite our
       exhortations that she should do it at least to diversify her portfolio.



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          Ex. A (S. Ellison) at 4.5
And while the Orchid condo was a luxurious apartment, her father’s sole visit to the Bahamas left

him with the impression that “the super-expensive condo was incongruous with how most in it

lived”:

          Caroline would spend all day and much of the evening at the office sitting at one of the 15-
          20 desks arranged in a circle a couple feet from each other in a generic office park. In the
          evening she and her roommates would often cook and eat together—the Bahamas had few
          vegetarian options—and then perhaps play some boardgames or open their computers and
          continue working. Caroline did take pride in her new Honda Civic [provided by the
          company for her use], having never before (or since) had a car, but her phone might have
          been her second-most valuable possession.

          Ex. B (G. Ellison) at 2.

The only significant purchase Caroline made while she worked at Alameda Research was $10

million in shares in the AI company Anthropic, which she viewed as an investment in promoting

the safe development of AI. See Tr.685:17-19. This proved to be a good investment; the shares

have soared in value since Caroline purchased them. The Anthropic shares provide the bulk of the

value of Caroline’s anticipated settlements with the government and the FTX Debtors. See infra

pp.60-61. Caroline also donated millions of dollars to charity, though she took no meaningful

steps to publicize those donations, and “none of [it wa]s performative. 6 Ex. A (S. Ellison) at 4;

see Tr.685:20-22. As her mother explained:

          She does not behave this way for credit or accolades or to shame others—she never draws
          attention to her choices and, in fact, often operates below the radar. We only know of her
          charitable contributions, for instance, because occasionally a receipt would arrive in our
          mail if she did not have a permanent address to send it to, and we asked her about it.


          5
         Caroline made a $100,000 loan to her parents to assist with home renovations. See
Tr.685:19-20.
          6
           Some of those donations were made to donor-advised funds; to the extent money
remained in those donor-advised funds at the time of Alameda’s bankruptcy, it has been or soon
will be returned to the FTX Debtors. See, e.g., In re FTX Trading Ltd, No. 22-11068 (JTD) (Bankr.
D. Del. Feb. 29, 2024) Dkt. 8281.


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       Ex. A (S. Ellison) at 4.

Caroline also did not attempt to amass celebrity or political power—nor did Mr. Bankman-Fried

choose to elevate Caroline in his political operation. 7

       Mr. Bankman-Fried also excluded Caroline from the many glitzy events he sponsored and

attended and the meetings he had with visiting celebrities, even when they were publicly dating.

For instance, shortly before they broke up for the last time, Mr. Bankman-Fried received an

invitation to attend the 2022 Met Gala at the Metropolitan Museum of Art in New York; Caroline

was excited and asked if they could attend together. Mr. Bankman-Fried told Caroline that was

“not going to happen,” and he said he did not want to be seen publicly with her. Similarly, when

a friend mentioned that she had seen on social media that Mr. Bankman-Fried had attended the

2022 Super Bowl, she was embarrassed to admit that she had not been invited. Even at the lavish,

multi-day 2022 “Crypto Bahamas” conference, which occurred around the time of their breakup,

Mr. Bankman-Fried did not invite Caroline to attend the events, dinners, and parties he arranged

with celebrities and politicians.

       In or around late-April 2022, Caroline decided to break up for good with Mr. Bankman-

Fried. As before, Caroline “wanted more from [the] relationship but often felt like he was distant

or not paying attention.” Tr.684:16-17. As always, the personal and professional aspects of their

relationship were inextricably intertwined. Mr. Bankman-Fried remained Caroline’s boss, and she

continued to communicate regularly with him on work-related topics, even as it became

increasingly difficult for Caroline to spend time around him. Indeed, in the same conversation in



       7
          Caroline twice withdrew funds from her FTX.com user account to make donations to
political action committees that assisted politicians supportive of pandemic preparation at the
recommendation of Mr. Bankman-Fried’s brother. However, Caroline donated her own funds in
her own name, and she did not leverage those donations to engage with politicians.


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which they decided to break up, Caroline discussed how it would be hard for her to continue

working for Mr. Bankman-Fried, and that she was feeling burnt out and no longer enjoying her

job at Alameda Research. However, Mr. Bankman-Fried talked Caroline into staying. Lurking

beneath these conversations was their shared understanding that Mr. Bankman-Fried’s strategy—

plowing billions of dollars into illiquid “venture” investments, financed by open-term loans—left

Alameda Research vulnerable to a crisis of confidence and, ultimately, to its collapse. She recalls

Mr. Bankman-Fried telling her that it was a bad idea to quit, that she was very important to FTX

and Alameda Research, and that things would get much worse at FTX and Alameda Research if

she were not there. In particular, Mr. Bankman-Fried told Caroline that if she quit, it could be

interpreted as a signal that there was something wrong with the company. She also recalls Mr.

Bankman-Fried also appealed to her EA ethics, arguing that she was “worth more” to the world if

she remained at Alameda Research—i.e., working for him. For several months at this point, her

co-CEO, Mr. Trabucco had been spending more time on his yacht than working for Alameda

Research, (though that fact had been concealed to avoid undermining confidence in Alameda), and

so Mr. Bankman-Fried told Caroline that there was no one well positioned to take over as CEO of

Alameda Research if she left, no one that he could “trust” as much as he trusted her.

       At the time, Caroline felt flattered by Mr. Bankman-Fried’s “trust,” and she did not want

to be responsible for triggering the downfall of Alameda Research and FTX, which Mr. Bankman-

Fried suggested might happen if she quit. See Ex. E (               ) at 2 (Caroline “didn’t know

how to extract herself without feeling like she was letting down her friends and employees.”).

Caroline now sees his “trust” differently. Caroline now understands that Mr. Bankman-Fried

“trusted” that she looked up to him so much, that she had such deep and longstanding feelings for

him that she would do things if he asked her to—even things that she knew were wrong. Now,




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Caroline perceives that “trust” as an expression of Mr. Bankman-Fried’s confidence that he could

control her, that she would keep his secrets, that she would be obedient.

          Caroline became increasingly unhappy during the summer and fall of 2022, and she

eventually had another conversation with Mr. Bankman-Fried about “want[ing] to quit.”

Tr.1102:2. Caroline recalled that “he told me that I couldn’t [quit], that I was too important to

keep at Alameda, and he thought I needed to stay at Alameda.” Tr.1102:2-4. As Caroline testified,

she again declined to resign “[b]ecause I trusted his opinion, and I didn’t want FTX and Alameda

to collapse. If he thought that my resigning might cause [the companies to collapse], then I didn’t

want to do that.” Tr.1102:6-8.

III.      OFFENSE CONDUCT

          Of course, FTX collapsed anyway. FTX’s collapse was immediately precipitated by a

crypto-industry website (CoinDesk) posting a copy of Alameda Research’s balance sheet on

November 2, 2022. See Tr.891-893. Although the balance sheet “was dishonest,” in that “it

understated the true extent of Alameda’s risk, … it still showed that Alameda was in a fairly risky

position” and that it was more intertwined with FTX than the public previously understood.

Tr.893:4-6. The collapse of FTX.com, which followed a massive withdrawal of customer funds

from FTX, revealed that Alameda Research had misappropriated customer and investor funds from

FTX, misrepresented its financial condition to lenders, and engaged in financial transactions

designed to further and to obscure these crimes. Caroline pled guilty to her participation in these

crimes.

          “[F]rom … the founding of FTX, [Mr. Bankman-Fried] had talked about”—and used—

“FTX [as] a good source of capital for Alameda.” Tr.718:3-4. Alameda Research “ultimately took

around $14 billion” “from FTX customers and used it for [Alameda’s] own investments and to

repay debts that [it] had.” Tr.644:16-645:13.


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       Alameda Research obtained FTX customer money in two ways: it “received FTX customer

funds directly into [its] bank accounts as part of the FTX fiat deposit system,” and it “had access

to an essentially unlimited line of credit on FTX.” Tr.644:21-23. The trial evidence conclusively

established that Mr. Bankman-Fried “was the one who set up the systems that allowed Alameda

to take the money, and he was the one who directed [Caroline and others] to take customer money”

to be used for purposes that he determined. Tr.645:1-3.

       First, starting “as early as 2020,” when Caroline was still just a cryptocurrency trader and

Mr. Bankman-Fried was CEO of both Alameda Research and FTX, Alameda began receiving FTX

customer fiat deposits into bank accounts owned by deceptively named subsidiaries, including

“North Dimension.”     Tr.654:22-655:3. Caroline was not involved in setting up the North

Dimension system, but she eventually supervised the Alameda Research Operations team, which

reconciled FTX.com customers’ fiat deposits and withdrawals with bank records. See Tr.657. By

the time Caroline was co-CEO and deactivated the North Dimension system, see Tr.1042:19-24,

Alameda Research had received billions in FTX.com customer funds via this route, and Alameda

had withdrawn some of that money “to other exchanges” for trading, “spent [it] on expenses,”

“used [it] to repay loans,” and “used [it] for investments.” Tr.655:14-656:14.

       Second, Alameda had a secret “line of credit on FTX that allowed [it] to borrow

cryptocurrency,” i.e., “a setting” in the computer code that ran the FTX.com trading platform “that

allowed [Alameda Research] to withdraw coins from [its] account, even if [it] didn’t have them …,

or to sell them again, even if [it] didn’t have them.” Tr.658:12-21. Moreover, Alameda Research

did not need to post collateral or to pay interest on negative balances, was not subject to margin

calls, and was exempt from FTX.com’s auto-liquidation protocols. Tr.659:9-660:9. Caroline

learned about these features sometime around when Alameda Research’s FTX.com account was




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first set up. See Tr.660. As she gained responsibilities, Mr. Bankman-Fried instructed Caroline

“to use” Alameda’s special line of credit “to make profitable trades that [it] wouldn’t have been

able to make otherwise” and not “to keep any more money on FTX beyond” what was necessary

“so that if customers were withdrawing that [FTX] would be able to process those withdrawals.”

Tr.661:4-7, 663:17-18. Mr. Bankman-Fried also directed Caroline and Mr. Trabucco in the

summer of 2021 to draw approximately $1 billion from Alameda’s special “line of credit” to fund

Mr. Bankman-Fried’s plan to repurchase from Binance approximately $2 billion in FTX equity.

See Tr.666-669.

       Alameda Research’s most significant use of FTX customer funds came in June 2022, when

a broad dislocation in cryptocurrency markets led third-party lenders to recall most of the loans

they had extended to Alameda. See Tr.753-754. These loans totaled billions of dollars, and

because “the majority of [the] loans were open-term loans, … the lenders could ask for them back

at any time and Alameda would have to repay.” Tr.754:10-12. But against Caroline’s advice, Mr.

Bankman-Fried had used billions of dollars of these open-term loans to make illiquid

“investments” and “for loans … to Sam, Gary, Nishad, and other entities owned by Sam,” and

“Alameda had lost a lot of money in the cryptocurrency market downturn,” so Alameda “didn’t

have the liquid assets to pay all of the money back.” Tr.761:14-762:16. Ultimately, after several

conversations that also included Mr. Wang and Mr. Singh, Mr. Bankman-Fried directed Caroline

“to borrow money using [Alameda’s] FTX line of credit to repay loans when they were called”—

i.e., “to use FTX customer funds to repay [Alameda’s] loans.” Tr.765:8-14. Caroline accordingly

“continued to direct the Alameda settlement team to repay lenders.” Tr.766:1-2.

       Although Caroline was not generally involved in Mr. Bankman-Fried’s efforts to raise

capital for FTX from investors, she was aware that FTX was not disclosing to investors the




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existence of Alameda’s line of credit. See Tr.666:2-4, 937:2-4. For instance, in 2020, when FTX

was undergoing its first audit as part of Mr. Bankman-Fried’s plan “to appeal to potential

investors,” Caroline asked him “whether [Alameda’s] line of credit would show up on the FTX

audit because [she] was concerned that … it would raise concerns with investors.” Tr.664:11-

665:2. Mr. Bankman-Fried reassured her: “No, don’t worry, the auditors aren’t going to look at

that.” Tr.664:15-16.

       Caroline also was not generally responsible for communicating with FTX customers—she

never worked for FTX—but she knew that Alameda’s use of FTX customer funds was not

disclosed to FTX customers. See Tr.665:21-23, 824:1-5. When Caroline did make public

statements that FTX investors or customers might hear, she followed Mr. Bankman-Fried’s

directive not to disclose this unlimited line of credit or other special permissions Alameda

Research enjoyed. See, e.g., Tr.936:20-937:1 (testifying about making “false statements on …

Twitter and in [a] Bloomberg article”). She understood that the purpose of these lies was to conceal

FTX’s close relationship to Alameda from its customers and investors.

       By contrast, Caroline was at times responsible for communicating with Alameda

Research’s lenders, so she was most directly involved in carrying out Mr. Bankman-Fried’s

directives to make fraudulent misrepresentations to Alameda’s lenders.               The principal

misrepresentations made to Alameda Research’s lenders appeared on Alameda Research balance

sheets that Caroline prepared in and after June 2022. On June 18, 2022, following a week in which

Alameda had returned billions of dollars in cryptocurrency loans to third parties using FTX

customer funds secretly withdrawn from the FTX.com exchange, Caroline met with Mr. Bankman-

Fried, Mr. Singh, and Mr. Wang to discuss a request from Alameda’s biggest lender, Genesis, for

an updated balance sheet. See Tr.783-785. Genesis’s request had left Caroline “very stressed out.”




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Tr.784:4. She “wanted to reassure [Genesis] about Alameda’s financial state, but the facts were

that Alameda was in a very bad situation[,] … had very risky positions on[,] and … had been

borrowing increasing amounts of money from FTX customers, and [she] didn’t want Genesis to

know any of that.” Tr.784:5-10.

       At the meeting, the group “discussed Alameda’s most recent balance sheet, and [Caroline]

asked what [she] should say to Genesis, and [Mr. Bankman-Fried] gave some suggestions” about

other assets “to put on the balance sheet” that “would make [Alameda’s] assets look larger.”

Tr.784:23-785:9. Caroline did “[n]ot initially” make Mr. Bankman-Fried’s suggested changes;

she “just prepared a … normal balance sheet” and “sent it to [Mr. Bankman-Fried] and said, ‘This

is our balance sheet, I think it looks bad, I don’t think we can send this to Genesis. Do you agree?’”

Tr.785:13-18. He agreed and directed Caroline to “prepare some alternative ways of presenting

the information and send them to him.” Tr.786:15-16. Caroline then “prepared a spreadsheet with

seven different alternative balance sheets” by “doing things like combining categories so that it

wasn’t obvious that some of [Alameda’s] assets were being used as collateral[,] … combining FTT

with other cryptocurrencies[, and] … netting out assets against liabilities to make [Alameda’s]

overall leverage and risk look lower.” Tr.786:24-787:13; see GX44. After Mr. Bankman-Fried

reviewed the spreadsheet, he selected one that falsely “ma[de] it look like [Alameda] had plenty

of liquid assets to cover [its] open-term loans.” Tr.799:14-15. That “alternative” “netted out the

exchange borrows”—i.e., FTX customer assets Alameda had taken—“against the related-party

loans”—i.e., transfers of assets from Alameda to Mr. Bankman-Fried (and entities he controlled),

to Mr. Singh, and to Mr. Wang—and reclassified “the rest [of the exchange borrows as] long-term

loans.” Tr.800:5-7. Caroline then “sent [the misleading balance sheet] to Genesis … [b]ecause

Sam directed [her] to.” Tr.800:12-14.




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       Caroline also posted a series of misleading tweets on November 6, 2022, in response to

CoinDesk publishing Alameda Research’s balance sheet. See GX875. Caroline had been on

vacation when the balance sheet was published, and she had declined to provide a comment to

CoinDesk. See Tr.892-893. When Caroline returned to work in the Hong Kong office on

November 6, customer withdrawals were accelerating and Mr. Bankman-Fried started a Signal

chat to discuss with Caroline and several others his “thought that [they] needed to do something

publicly to address th[e] concern” in the market “around Alameda’s balance sheet.” See Tr.898:15-

17. Mr. Bankman-Fried declined to “be the one to tweet,” because he did not “want to be

associated with Alameda.” Tr.898:20-22. Caroline was reluctant to do it “[b]ecause [she] knew

that the purpose of such a tweet would be to try to mislead people and give them false reassurance.”

Tr.898:24-25. Still, after Mr. Bankman-Fried drafted a tweet and Caroline and others revised it,

Caroline acceded to Mr. Bankman-Fried’s request and “sent the tweet.” Tr.900:25.

IV.    CAROLINE ACCEPTS RESPONSIBILITY AND COOPERATES

       A.      Caroline Discloses The Fraud

       Caroline began the process of accepting responsibility for her crimes on November 8, 2022,

three days before FTX and Alameda Research declared bankruptcy. At the time, FTX.com was

struggling to process customers’ withdrawals.         That night, following Mr. Bankman-Fried’s

announcement that Binance intended to acquire FTX, Caroline told several Alameda Research

employees in Alameda’s Hong Kong office “that FTX had a shortfall of user funds and that this

was caused by Alameda borrowing user funds from FTX to repay its prior loans, and it had used

those prior loans to make illiquid investments in various different ventures.” Tr.1139:10-14

(Drappi). Caroline also refused to lie on a call with the representative of a wealthy investor, Dustin

Moskovitz, whom she had contacted at Mr. Bankman-Fried’s request: Caroline explained that

FTX needed an “emergency investment” of several billion dollars to reopen withdrawals because


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Alameda Research had used customer funds to repay loans taken out to finance illiquid venture

investments. Tr.1088:6-1089:4.

       On November 9, 2022, at an all-hands meeting of Alameda Research employees, Caroline

explained “that Alameda had made billions of dollars of venture investments and had bought back

FTX equity from Binance using open-term loans and that when the loans had been recalled, we

had to use or we did use FTX customer funds to repay them, which had caused the shortfall.”

Tr.1093:23-1094:2. When an employee asked who was involved in this wrongdoing, Caroline

responded immediately and truthfully: “I talked about it with, like, Sam, Nishad, and Gary,”

GX433E-T, and that the person “[w]ho made the decision on using user deposits” was “Sam,”

GX433F-T. See also Tr.1150-1151, 1094:10-12.

       Caroline made this disclosure “want[ing] to be honest and open in answering [her]

employee[s’] questions.” Tr.1095:6-11.       As the government emphasized in its summation,

Caroline made these disclosures “before she had ever met with the government, before she knew

there was an investigation.”     Tr.3127:16-18 (rebuttal summation); see also Tr.1008:21-25.

Caroline’s explanations to her employees (which were soon reported by the Wall Street Journal)

are striking for many reasons, not least that Caroline forthrightly disclosed the fraud at the heart

of FTX and Alameda Research in the same way that the story would come out at trial more than a

year later, and she acknowledged her responsibility for those crimes without reservation. See

Tr.3127-3128 (government arguing the same in rebuttal summation).

       Caroline’s acceptance of responsibility at the November 9, 2022 all-hands meeting

reflected her relief at being able to stop lying for Mr. Bankman-Fried. As Caroline testified:

       I never liked misleading my employees. I felt really bad about it, but I felt sort of trapped
       in the summer of 2022, because I was worried that if I revealed Alameda's actual financial
       situation to anyone, including our employees, that the news would get out and that people
       would withdraw their funds from FTX, causing Alameda and FTX to collapse. By the time



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       of this all hands … meeting in November, it had already happened, so I felt free to be
       honest with employees at that point, as … I had wanted to before but felt like I couldn’t.

       Tr.1096:18-1097:2.

Caroline’s relief at being able to accept responsibility for her crimes is also evident from a set of

messages exchanged between Caroline and Mr. Bankman-Fried on November 7, 2022. Tr.914:21.

Caroline had messaged him that despite the chaos unfolding around them, she was in “the best

mood I’ve been in in like a year.” GX480D. Mr. Bankman-Fried thought this was “because shit’s

exciting,” but Caroline wrote: “I think I just had an increasing dread of this day that was weighing

on me for a long time, and now that it’s actually happening, it just feels great to get it over with

one way or another.” Id. At trial, Caroline tearfully explained what she meant:

       To be clear, that was overall the worst week of my life. I had a lot of mood swings during
       that week and a lot of different feelings. But one of the feelings I had was an overwhelming
       feeling of relief because, as I said, this had been something that I had been dreading for so
       long, for the past several months. It’s something that had been in my mind every day,
       worrying about what would happen when the truth finally came out. And I felt a sense of
       relief that I didn’t have to lie anymore, that I could start taking responsibility and
       being honest about what I had done, even though I obviously felt indescribably bad
       about all of the people that were harmed and the people that lost their money, the
       employees that lost their jobs, people that trusted us that we had betrayed.

       Tr.915:2-14 (emphasis added).

Caroline’s statement at the all-hands meeting triggered a wave of resignations across Alameda

Research and FTX. See, e.g., Tr.1151:22-24; Exs. M (A. Yedidia), G (L. Clark).

       B.      Caroline Assists The Bankruptcy Estate

       Following her comments at the Alameda Research all-hands meeting, Caroline had several

conversations with Mr. Bankman-Fried, urging him to accept others’ advice and declare

bankruptcy. Mr. Bankman-Fried resisted the idea, telling Caroline that FTX was not “at that point

yet,” because he was still waiting to hear whether “other investors” would rescue his companies.

Caroline disagreed, telling Mr. Bankman-Fried that this path was “not likely to fix the problem”;



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she argued to Mr. Bankman-Fried that declaring bankruptcy would be the “best way to ensure that

everyone was treated fairly.”    FTX, Alameda Research, and affiliated companies declared

bankruptcy November 11, 2022. See Tr.926:17-19.

       Her colleagues’ resignations left Caroline as one of the only remaining employees at

Alameda Research, which faced the enormous task of gathering billions of dollars in crypto, fiat,

and other assets held in a tangle of wallets and accounts at exchanges, brokerages, and banks so

that these funds could be secured and ultimately returned to customers, lenders, and investors.

“Within twenty-four hours of the commencement of the Chapter 11 Cases, Ms. Ellison began

assisting the Debtors’ bankruptcy advisors by identifying and securing estate assets.” Ex. AI (FTX

Debtors) at 2. Although Caroline could also have quit, she remained. She did so neither out of

loyalty to Mr. Bankman-Fried nor to cover her tracks; she kept working out of a desire to help

address the harm caused by her crimes and to assist bankruptcy counsel in preserving as much

value as possible for victims. On November 11, 2022, Caroline decided to return from Hong Kong

to the United States and went to stay with her parents. During this time, Caroline “assisted the

Debtors’ advisors in transferring hundreds of millions of dollars of Debtor cryptocurrency assets

from third-party exchanges and accounts to secure cold storage wallets” and “provided information

regarding the location of the assets, their approximate dollar value, and contact information for

individuals who might be able to assist in preserving them for the estate.” Id. Her father recalls

her single-minded focus on assisting the bankruptcy estate secure assets:

       At that point, she set up a makeshift home office and started having multiple calls with the
       new FTX management. As parents, we urged her to get herself a lawyer and consult with
       them on what she should or should not be doing with FTX (and otherwise). But she said
       she was too busy to try to get a lawyer right away. She backed out of one late-evening
       errand she was going to run with me, telling me that the bankruptcy team wanted her help
       with getting Alameda’s crypto into cold storage, even though that’s something she had
       mostly relied on staff for, and she’d need to pull another all-nighter. When they cut off
       contact and fired her a day or two later, she understood completely, but was still



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       disappointed, worried that there was so much that the team taking over didn’t know, and
       wishing they’d known they could trust that she would help out in any way she could to
       minimize the damage.

       Ex. B (G. Ellison) at 3.

John Ray, the current CEO of the FTX Debtor entities, describes Caroline’s “early cooperation

[]as valuable in helping the Debtors’ advisors protect and preserve” “hundreds of millions of

dollars in Debtor assets for the benefit of creditors … and understand FTX’s systems so that they

could begin to institute governance and controls.” Ex. AI (FTX Debtors) at 1-2.

       A few days after the bankruptcy petition was filed, Caroline had a discussion with Mr.

Bankman-Fried, who told her that agreeing to file “was the biggest mistake he had ever made,”

and that he was supposedly trying to transfer assets to the Bahamian government, so the assets did

not get into the control of U.S. bankruptcy estate. In their last conversation, Mr. Bankman-Fried

asked Caroline to help him “get assets to the Bahamas,” but Caroline refused, telling him that she

was “not going to help with that” because she was “interested in cooperating with the U.S.

government.” Indeed, after FTX and Alameda Research engaged U.S. bankruptcy counsel,

Caroline exclusively followed their directions to assist in securing assets.

       In the nearly two years since the bankruptcy, Caroline has continued to assist the FTX

Debtors however she can. For instance, “through … counsel, [Caroline] has also worked with the

Debtors’ advisors to answer technical questions and provide information regarding private keys to

cryptocurrency wallets that contain estate assets, DeFi positions, FTX exchange internal account

information, the use of third-party exchanges for pre-petition trading, and pre-petition auditing

practices.” Ex. AI (FTX Debtors) at 2. Caroline has “also made substantial productions of

documents to the Debtors” and continues to cooperate with the Debtors’ investigation and

litigation of adversary proceedings against recipients of capital from Alameda Research and FTX.

Id.


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          C.     Cooperation with the United States Government

          After Caroline returned to the United States and around the time she was officially fired by

the Debtors, she retained counsel and began engaging cooperatively with the U.S. Attorney’s

Office.

          On December 8, 2022, Caroline sat for her first of many proffer sessions with

representatives from the U.S. Attorney’s Office, the Federal Bureau of Investigation, the SEC, and

the CFTC.8 Even at that early stage, and lacking access to most Alameda Research documents,

Caroline described in detail documents and conversations that would feature prominently at Mr.

Bankman-Fried’s trial. For instance, at Caroline’s first proffer session, she described accurately

and in detail the spreadsheet presenting “seven different alternative balance sheets” that she created

at Mr. Bankman-Fried’s direction for the purpose of “conceal[ing] the things in our balance sheet

that we both thought looked bad.” Tr.786:20-25; see GX44. Caroline explained in her first

meeting with the government how Mr. Bankman-Fried had selected the “alternative” balance sheet

that “ma[d]e Alameda look less risky” by “net[ing] out the exchange borrows against the related-

party loans and then mov[ing] the rest to the long-term loans category.” Tr.798:24-800:7. At the

time, neither Caroline nor the government had possession of this document. Months later, Caroline

identified this otherwise-anonymous spreadsheet for the government in a collection of thousands

of documents obtained from the Debtors’ files. This spreadsheet became the centerpiece of the

government’s case against Mr. Bankman-Fried for fraud and conspiracy against the lenders to

Alameda Research. See PSR at 41, Tr.784-804 (describing preparation and transmission of the

fraudulent balance sheet). The inability of Mr. Bankman-Fried’s counsel to impeach Caroline



          8
         The government’s seizure of Caroline’s phone and computer shortly after she returned to
the United States created challenges that made it difficult to meet sooner.


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regarding this critical spreadsheet reflects that she was totally consistent in her description of its

creation, meaning, and use from her very first meeting with the government through the conclusion

of her testimony. See Tr.1069-1074.

       In a later meeting, Caroline revealed to the Government that Mr. Bankman-Fried had

directed the payment of a bribe to unfreeze Alameda Research accounts on cryptocurrency

exchanges based in China. See Tr.827-833, 837-843. Indeed, the Government “would not have

been able to charge [Mr.] Bankman-Fried with lender fraud or foreign bribery had it not been for

[Caroline’s] information.” PSR at 41.

       After providing the government with four proffer sessions over a single week, Caroline

entered a cooperation agreement with the U.S. Attorney’s Office and pled guilty to seven counts

before Judge Abrams on December 19, 2022. Pained at the harm she had helped to cause, Caroline

used her plea allocution as an opportunity to describe her crimes in detail, to accept responsibility,

and to apologize:

       I am truly sorry for what I did. I knew that it was wrong. And I want to apologize for my
       actions to the affected customers of FTX, lenders to Alameda and investors in FTX. Since
       FTX and Alameda collapsed in November 2022, I have worked hard to assist with the
       recovery of assets for the benefit of customers and to cooperate with the government’s
       investigation. I am here today to accept responsibility for my actions by pleading guilty.
       Dkt. 19 at 29:2-9.
Caroline simultaneously entered into consent judgments with the SEC and CFTC and cooperated

with these agencies. See Securities & Exchange Commission v. Ellison, No. 1:22-cv-10794

(S.D.N.Y. Dec. 23, 2022) Dkt. 15; Commodity Futures Trading Commission v. Bankman-Fried,

No. 1:22-cv-10503 (S.D.N.Y. Dec. 23, 2022) Dkt. 26. Pursuant to these settlements, Caroline

accepted lifetime bans from working in the securities or commodities industries, from trading

securities or certain cryptocurrencies on behalf of others, and from serving as the officer or director

of any public company. See id. These settlements also provided the framework within which


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Caroline proceeded to provide both the SEC and CFTC with information to further their

investigations of FTX and other players in the cryptocurrency markets.

       Over the nine months between her plea and Mr. Bankman-Fried’s trial, Caroline worked

diligently to assist the government’s investigation into the collapse of FTX and Alameda Research.

Caroline met with the government more than twenty times to provide information about the

operations of Alameda Research and FTX, to review documents and other evidence collected by

the government, and to prepare for her trial testimony.9 Caroline also helped the government

overcome some of the challenges particular to this case: Mr. Bankman-Fried’s use of ephemeral

messaging and the poor record-keeping of his companies. See Tr.825:9-19. Indeed, the most

sensitive communications between Mr. Bankman-Fried and Caroline and among Mr. Bankman-

Fried, Mr. Singh, Mr. Wang, and Caroline occurred on Signal threads that were devoid of nearly

all messages sent before November 2022. See, e.g., GX1659.

       For instance, Caroline reviewed hundreds of documents collected from Alameda

Research’s cloud storage account to identify documents that reflected Mr. Bankman-Fried’s

knowledge of Alameda Research’s financial position and his intent for Alameda Research to use

FTX.com customer deposits. Caroline also helped the government’s forensic experts calculate

Alameda’s valuation and the extent of Alameda Research’s use of FTX.com customer assets over

time. Parsing Alameda Research’s poor internal records was complicated by vague titles and

unlabeled calculations on any documents reflecting misuse of customer funds. See Tr.843:22-

844:7. This, Caroline testified, was a result of Mr. Bankman-Fried’s repeated directive “that

[employees] should be very careful about what we put in writing,” because “putting things in



       9
           Caroline also assisted the government by providing numerous factual proffers through
counsel.


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writing was one of the primary ways that financial firms got in legal trouble.” See Tr.825:9-12.

Alameda documents also tended to “sp[eak] in coded terms about potential criminal activity,” such

as in connection with the bribe of Chinese officials. Tr.827:6-7; see, e.g., GX64 (“State of

Alameda” document referring to the bribe as “negative 150M from the thing?”).

       Through her review of Alameda Research records, Caroline identified and explained for

the government several vaguely worded documents that became so central to the government’s

case that they were featured in the government’s closing argument. See PSR at 41. For instance,

Caroline identified for the government the “NAV Minus SamCoins” spreadsheet from fall 2021,

in which Caroline analyzed the risks involved in Mr. Bankman-Fried’s plan to make an additional

$3 billion in “venture” investments funded by open-term loans and backstopped by FTX customer

deposits. See GX36. She also located the spreadsheet with seven “alternative” presentations of

Alameda Research’s balance sheet, which she had told the government about in her very first

interview. See GX44. Caroline also identified for the government critical communications with

Alameda Research’s counterparties, including chats from mid-June 2022 in which crypto lending

desks such as Genesis recalled billions of dollars in loans to Alameda Research. See, e.g., GX1647.

And because Mr. Bankman-Fried had long required Caroline to prepare Alameda Research’s

balance sheets, both for internal and external purposes, Caroline was uniquely able to identify,

reconcile, and explain balance sheets that conveyed to Mr. Bankman-Fried the scale of Alameda

Research’s use of FTX.com customer funds and “loans” to Mr. Bankman-Fried, Mr. Singh, Mr.

Wang, and Mr. Salame—but concealed those facts from lenders. See, e.g., GX10, GX11, GX19,

GX418, GX419, GX460.

       As the Court will recall, Caroline testified at trial for nearly three days. Caroline was able

to provide the jury with crucial testimony on two aspects of Mr. Bankman-Fried’s mental state.




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First, Caroline testified credibly and in detail about numerous communications she had with Mr.

Bankman-Fried that definitively established his criminal mens rea, including his intent to use

FTX.com customer funds for his own purposes via Alameda Research’s special access. See, e.g.,

Tr.666-670 (testifying about Mr. Bankman-Fried’s summer 2021 instruction for Alameda

Research to use FTX.com customer funds to repurchase FTX equity from Binance); Tr.695-730

(testifying about Mr. Bankman-Fried’s fall 2021 decision to fund $3 billion in “venture”

investments with borrowed funds); Tr.784-804 (testifying about Mr. Bankman-Fried’s instruction

to create “alternative” balance sheets for Alameda Research’s lenders and to send a dishonest

balance sheet to Genesis); Tr.763-766 (testifying about Mr. Bankman-Fried’s instruction for

Alameda Research to repay third-party loans with FTX.com customer funds in mid-June 2022).

       Second, as Mr. Bankman-Fried’s romantic partner and confidant, Caroline memorably

testified about Mr. Bankman-Fried’s private views on issues like honesty, see, e.g., Tr.807 (“He

said that he was a utilitarian, and he believed that the ways that people tried to justify rules like

don’t lie and don’t steal within utilitarianism didn’t work.”); his goals, see Tr.650 (“He was also

very interested in politics and talked about wanting to use his money to have influence on politics.

He said at one point he thought there was a 5 percent chance he would become president some

day.”); his personal branding strategy, see Tr.863:4-7 (“He said he thought his hair had been very

valuable … and that it was an important part of FTX’s narrative and image.”); and his attitude

toward risk taking, see Tr.695:1-5 (“[I]n the context of thinking about what was good for the world,

[he said] that he would be happy to flip a coin, if it came up tails and the world was destroyed, as

long as if it came up heads the world would be like more than twice as good.”). Caroline thereby

helped the government establish its central rebuttal to Mr. Bankman-Fried’s defense of “good

faith” mistake, see, e.g., Tr.3035-3039 (defense summation):




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       While many aspects of this case have been the subject of unusually keen public attention,

the press and internet users have been particularly fascinated with Caroline and her role as a

cooperator. The media have aggressively speculated about Caroline’s personal history, her

romantic life, and her physical whereabouts. As this Court well knows, see Dkt. 200 (revoking

Mr. Bankman-Fried’s bail), “that media atmosphere [was] in part a product of [Mr. Bankman-

Fried]’s own creation and of his sustained effort to focus the media on Ellison’s personal life and

private writings,” Dkt. 188 at 3 (government’s reply in support of detention). For instance, Mr.

Bankman-Fried leaked to the New York Times several letters that Caroline had written him about

their relationship and that the Court accurately described as being of an “extremely … personal

and intimate” nature. Dkt. 224 at 37:10-11. Mr. Bankman-Fried did so in a manner “obviously

designed to intimidate, harass, and embarrass someone he kn[ew] [wa]s slated to testify against

him.” Dkt. 188 at 3 (government’s reply in support of detention). 10 And Mr. Bankman-Fried’s

allies have repeatedly conspired to invade Caroline’s privacy. On the eve of trial, for instance, a

prominent author published a best-selling book that both quoted from other letters Caroline had

written Mr. Bankman-Fried about their dysfunctional relationship and detailed aspects of their

sexual relationship. See M. Lewis, Going Infinite 165-166 (W.W. Norton & Co. 2023). Indeed,

the book gallingly includes quotes from Caroline’s former psychiatrist, who spoke disparagingly

about Caroline’s psychological makeup and the “issues [Caroline] wanted to talk about” during

“session[s].” Id. at 139.11



       10
         See D. Yaffee-Bellany and M. Goldstein, Inside the Private writings of Caroline Ellison,
Star Witness in the FTX Case, N.Y. Times (July 20, 2023), https://www.nytimes.com/2023/07/20/
technology/ftx-caroline-ellison-bankman-fried.html.
       11
          The psychiatrist, Dr. George Lerner, who had treated both Caroline and Mr. Bankman-
Fried, has actively supported Mr. Bankman-Fried in his criminal case. See Dkts. 201-1 (letter
concerning medication), 407-17 (sentencing letter in support of Mr. Bankman-Fried).


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       The media fixation on Caroline fostered by Mr. Bankman-Fried has also affected

Caroline’s personal relationships and family members. The press (and others) have hounded

Caroline’s parents and sisters, showing up on their doorsteps and revealing the locations of their

residences on the Internet.12 Her family members have also been subject to online harassment and

threats. Caroline has effectively lived in hiding since December 4, 2022, when the Internet

rampantly speculated on her whereabouts after she was spotted buying a tea in New York City,

several blocks from the U.S. Attorney’s Office. 13 She has been recognized and approached in

public on numerous occasions, and as a result is wary of going out in public. In view of this

continual feeding frenzy, numerous otherwise-supportive friends declined to file sentencing letters

on Caroline’s behalf, explaining they were afraid that even court-ordered sealing would not protect

them from doxing.

       D.      Assistance for FTX Customers, the FTX Debtors, And Other Investigations

       Caroline has sought to make amends by assisting not just the U.S. government and the FTX

Debtors, but any entity seeking to investigate the collapse of FTX or recover value for victims.

For instance, shortly after Caroline finished testifying in Mr. Bankman-Fried’s criminal trial,

Caroline reached a comprehensive stipulation of settlement with FTX’s customers who are

plaintiffs in the multidistrict litigation currently pending before Judge Moore in the Southern

District of Florida. See In re FTX Cryptocurrency Exchange Collapse Litigation, No. 1:23-md-

3076 (S.D. Fla. Mar. 27, 2023) Dkt. 565-2 at 3-46 (stipulation of settlement, dated Jan. 23, 2024).



       12
          See, e.g., O. Land, Who are Caroline Ellison’s parents? Fraudster’s mom and dad are
MIT economists, N.Y. Post (Dec. 23, 2022), https://nypost.com/2022/12/23/who-are-caroline-
ellisons-parents-fraudsters-parents-are-mit-economists.
       13
          See B. Quarmby, Alameda ex-CEO Caroline Ellison spotted in New York, Twitter users
claim, CoinTelegraph.com (Dec. 5, 2022), https://cointelegraph.com/news/alameda-ex-ceo-
caroline-ellison-spotted-in-new-york-twitter-users-claim.


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Pursuant to this proposed class action settlement and subject to approval from the U.S. Attorney’s

Office, Caroline provided the MDL steering committee with information and documents that

supported their filing an amended complaint against people and entities that facilitated the FTX

fraud. See, e.g., In re FTX Cryptocurrency Exchange Collapse Litigation, No. 1:23-md-3076 (S.D.

Fla. Feb. 16, 2024) Dkt. 492-1 at 115-123 (Declaration of Caroline Ellison Regarding Deltec Bank

and Trust). For instance, Caroline provided the MDL plaintiffs with documents and a declaration

describing, in detail, how the Bahamian Deltec Bank and Trust provided Alameda with a

clandestine line of credit of approximately $2 billion. See Ex. AJ (MDL plaintiffs) at 2. Moreover,

in settling, Caroline sought to preserve her assets for disposition through the forfeiture process, as

ordered by this Court and administered by the Department of Justice.

       Caroline is also in the process of finalizing a settlement with the FTX Debtors of the

adversary proceeding brought against her in the Bankruptcy Court; that settlement will resolve all

the Debtors’ claims against her and will establish a framework for her “ongoing cooperation” with

the Debtors’ litigation, investigation, and asset tracing work. Ex. AI (FTX Debtors) at 2. Under

the contemplated settlement, Caroline will continue to “mak[e] herself available to testify as

needed, voluntarily provid[e] documents and information, review[] and clarify[] documents,

locate[] and retriev[e] assets, and answer[] questions from the Debtors’ advisors.”            Id. In

connection with this agreement, Caroline anticipates that the FTX Debtors may soon notice her

deposition in multiple adversary proceedings regarding companies into which Mr. Bankman-Fried

made “venture” investments via Alameda Research entities.

       Caroline has similarly assisted the independent examiner appointed by the FTX

Bankruptcy Court, including by voluntarily sitting for multiple interviews about Alameda

Research and its relationship to FTX.US. See Ex. AK (FTX Bankruptcy Examiner). Caroline also




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provided information to the New York Attorney General’s Investor Protection Bureau to assist

with a crypto-related investigation. And throughout this case, Caroline has provided information

to the SEC and CFTC to assist their investigations of regulatory violations related to

cryptocurrency market manipulation, the FTX fraud, and FTX.US’s regulatory compliance.

Finally, Caroline has also met with other prosecutors at the U.S. Attorney’s Office and in the

broader Department of Justice to provide information on other people and entities under

investigation, including people who enabled and profited from the FTX fraud, people involved in

routing Alameda Research’s funds into the U.S. campaign finance system, and cryptocurrency

market participants involved in other potential criminal activities.

       E.      Caroline’s Efforts To Rebuild Her Life

       Since FTX collapsed in November 2022, Caroline has sought new ways to contribute

positively to society (in addition to her cooperation with investigations of FTX and Alameda

Research). Caroline’s repeated efforts to find a paying job have been unsuccessful because of her

notoriety and the uncertainty surrounding her criminal case. Caroline has therefore focused instead

on direct service, volunteering more than 700 hours to community organizations,

                              . Throughout 2023, Caroline                                          she

volunteered regularly at a soup kitchen and food pantry, taught adult literacy classes, fostered

rescue dogs, served as a volunteer tax preparer for low-income taxpayers, and helped to deliver

meals to individuals with chronic illnesses. See Ex. AG (              ); see also Exs. B (G. Ellison),

A (S. Ellison), F (M. Dinsmore) at 1-2; PSR ¶79.                          , Caroline has volunteered

at least weekly at various organizations to assist low-income people with income tax preparation,

to provide GED tutoring in math, to send books to prisoners, and to distribute groceries at a local

food pantry. See Exs. AH (              ), AF (                              ), E (             ) at 1;




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PSR ¶79.                           describes her evident passion for performing this direct service to

others:

          It has been very good to see Caroline involved in these grounded, positive impact activities.
          I do not claim to understand everything that went wrong at Alameda and FTX, but it seems
          clear to me that the extreme level of abstraction was a catalyst for bad decisions. Spending
          time face-to-face with and befriending real, concrete people that don’t necessarily have
          exactly the same background as her has obviously been very healing.
          Ex. E (             ) at 1.
          Caroline has also spent a significant amount of time writing. In particular, she has

collaborated with her parents and another professor on a math enrichment textbook for advanced

high school students. See Exs. B (G. Ellison) at 4, A (S. Ellison), AB (C. Avery). Caroline has

also written a novel (unrelated to the facts of this case). See Ex. A (S. Ellison) at 5.

          Since Alameda Research collapsed, Caroline has been fortunate to draw on a stable and

loving support network, including her family and many friends from childhood, who had lost touch

with her while she was employed at Alameda Research, see, e.g., Ex. F (M. Dinsmore). Caroline

has also drawn comfort from a new partner,

                                                        ; PSR ¶76-77. Caroline’s friends recognize her

new partner as supportive and a positive, grounding influence:

          In October 2022, I learned that Caroline was dating a close friend of mine, someone I had
          known for five years. I was very happy for her. I said that he was a vast improvement
          over her ex. I was being sardonic and genuine. Her new partner is honest and has integrity;
          he finds even the small white lies of corporate politics distasteful. I have known him to be
          kind, intelligent and empathetic. He has quietly supported her this last year. I believe that
          this new and kind environment will be good for her.
          Ex. G (L. Clark) at 3.
V.        THE SENTENCING GUIDELINES AND PROBATION’S RECOMMENDATION

          Caroline does not object to the Guidelines calculation of offense level 43 with a criminal

history level of I, as set forth in the presentence report. Of the 43 offense level points, 30 levels

are attributable solely to the loss table. See PSR ¶55. As the Court has noted “there’s really no


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empirical basis” for the loss table’s structure and the Court is not “in any way bound” by the

Guidelines calculation. Dkt. 426 at 6:19-23 (Bankman-Fried sentencing). Indeed, even setting

aside the issue of cooperation, the Court “may not presume that the Guidelines range is

reasonable.” Gall v. United States, 552 U.S. 38, 50 (2007). Here, the Guidelines sentence of life

imprisonment, reduced to the statutory maximum of 1,320 months, is eminently unreasonable.

       Notwithstanding the astronomical Guidelines range, the Probation Department’s PSR

recommends a sentence of time served on each of the counts, and a three-year term of supervised

release on each count, all to run concurrently. See PSR at 40. The Probation Department does not

recommend imposing a fine. See id.

VI.    A SENTENCE OF TIME SERVED IS SUFFICIENT TO COMPLY WITH SECTION 3553(A)

       The Court’s sentencing decision must “consider all of the § 3553(a) factors to determine

whether they support the sentence requested by a party.” Gall, 552 U.S. at 49-50. These factors

include:

       (1) the nature and circumstances of the offense and the history and characteristics of the
           defendant;
       (2) the need for the sentence imposed –
               A. to reflect the seriousness of the offense, to promote respect for the law, and to
                   provide just punishment for the offense;
               B. to afford adequate deterrence to criminal conduct;
               C. to protect the public from further crimes of the defendant; and
               D. to provide the defendant with needed educational or vocational training,
                   medical care, or other correctional treatment in the most effective manner;
       (3) the kinds of sentences available;
       (4) the kinds of sentence and the sentencing range established [by the United States
           Sentencing Guidelines];
       (5) any pertinent policy statement [issued by the Sentencing Commission];
       (6) the need to avoid unwarranted sentencing disparities among defendants with similar
           records who have been found guilty of similar conduct; and
       (7) the need to provide restitution to any victims of the offense.

       18 U.S.C. § 3553(a).




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In considering these factors, the Court must make an independent sentencing determination based

on “an individualized assessment based on the facts presented,” Gall, 552 U.S. at 49-50, and

impose a sentence that is “sufficient, but not greater than necessary, to comply with” these factors,

18 U.S.C. § 3553(a).

       Caroline is acutely aware that “this was a very serious crime,” and she recognizes that

justice demands that for each defendant, “the judgment has to adequately reflect th[at]

seriousness.” Dkt. 426 at 56:18-20 (Bankman-Fried sentencing). Indeed, Caroline was the first

person in this saga to accept responsibility for their crimes, doing so even before FTX had declared

bankruptcy, and she has repeatedly expressed intense remorse for her role. See, e.g., supra pp.37,

41. Telling the truth in that Alameda Research all-hands meeting enabled Caroline to extricate

herself from the “trap[]” of Mr. Bankman-Fried’s influence, Tr.1096:20, and Caroline jumped

wholeheartedly into helping to bring victims compensation and justice for the harm she and her

co-conspirators have caused.

       It is therefore respectfully submitted that, in light of Caroline’s immediate and

extraordinary cooperation in this case, as well as her personal history and the mitigating factors

concerning her role in the offense, sentencing Caroline to time served with a term of supervised

release would be “sufficient, but not greater than necessary” to achieve the objectives of the section

3553(a) sentencing factors.

       A.      Caroline’s Personal History and Characteristics

       Caroline’s friends, family members, and former colleagues uniformly recognize Caroline

to be a generous, loyal, and conscientious person who thinks deeply about how she can act ethically

to have a positive effect on the world. Prior to working at Alameda Research, Caroline does not

appear ever to have been in any trouble, whether at home, school, or work. See, e.g., PSR ¶88




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(“Ellison …[has] never had any disciplinary issues.”); id. ¶¶66-71 (reflecting no prior criminal

justice involvement). The attached letters brim with testimonials to and examples of Caroline

acting in a kind and unselfish manner toward her colleagues, her friends, and the world at large.

See generally supra pp.6-12.

       The letters also confirm Caroline’s commitment to utilitarian ethical principles, and they

describe behaviors reflecting that she understands utilitarianism to require generosity and self-

sacrifice, not as a justification to self-aggrandizement or dishonesty. A former colleague recalls a

small example of Caroline’s sincerity:

       I’ve spent many nights trying to reconcile the person I know with what I’ve learned about
       Caroline during the criminal proceedings. Looking back, I conclude that she valued her
       own feelings and desires too little. Why else would she work all those night shifts? Once,
       her great-uncle took us on a tour of Napa Valley in his vintage four-seater Cessna. Before
       I could say anything, she eagerly jumped into the back and offered me the front seat. She
       knew that I loved small airplanes. She said it was the utilitarian thing to do, since I
       would enjoy the [seat] more.
       Ex. G (L. Clark) at 2-3 (emphasis added).
The record uniformly supports Caroline’s testimony that she joined Alameda Research in the first

place principally from a desire to earn money to give to charity, not a desire to live an extravagant

life, accumulate personal wealth, burnish her public persona, or obtain power. See supra pp.15-

16.

       It is a cruel irony that Caroline’s zeal to maximize her positive impact on the world led her

to trust and to follow Mr. Bankman-Fried, who attracted Caroline in significant part through his

espousal of EA principals and his deployment of utilitarian arguments. At Mr. Bankman-Fried’s

sentencing, the Court rightly criticized him for treating the world like a “game,” for “betting on

expected value,” and for “viewing the cost of getting caught, discounted by probability … against

the gain of getting away without getting caught.” Dkt. 426 at 53:16-22. Caroline does not share

his worldview. Unlike Mr. Bankman-Fried, Caroline has never suggested that utilitarianism


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justifies lying or stealing, and she always thought that his professed “risk neutrality” was

dangerous and counseled Mr. Bankman-Fried not to take such extreme risks. See, e.g., Tr.807:8-

809:2, Tr.973-974.

       Caroline never adopted Mr. Bankman-Fried’s ethical views—debating these philosophical

issues was a fixture of their time together—but their multifaceted relationship undoubtedly

influenced her. After repeatedly advising Mr. Bankman-Fried not to take certain risks and then

watching them work out—e.g., building FTX, investing in Solana—Caroline came to increasingly

defer to his judgment, even when she knew that what he was proposing was wrong. Her sister

describes Caroline as having been “almost in awe of how smart he was,” and “[s]he always

deferred to him a good deal, both because he was in reality very smart, and also … because he was

so good with words, with coming up with arguments quickly and making Caroline feel irrational

if she disagreed.” Ex. C (A. Ellison) at 3. As Caroline testified, working with Mr. Bankman-Fried

“made me more willing to do things like lie and steal over time.” Tr.807:22-23. She continued:

“When I started working at Alameda, I don’t think I would have believed it if you told me that a

few years later I would be sending false balance sheets to our lenders or taking customer money,

but over time it was something that I became more comfortable with when I was working there.”

Tr.807:23-808:2.

       Caroline’s honest explanation of the FTX and Alameda Research fraud during the

November 9, 2022 all hands meeting represents not just a pivotal moment in this case—her

renunciation of Mr. Bankman-Fried’s conspiracy and the beginning of her acceptance of

responsibility and cooperation with the appropriate authorities. It is a signal moment in Caroline’s

life and represents her return to the honest and law-abiding life she led before joining Alameda

Research.




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       B.      Nature, Characteristics of the Offense

       Caroline served as co-CEO, then CEO of Alameda Research. But her title belied her actual

authority. As the Court remarked at a sidebar shortly after Caroline left the stand, there was

“absolutely no doubt [that Mr. Bankman-Fried] owned the company,” and the evidence was

overwhelming that Caroline, “the ostensible co-CEO or CEO, r[an] all these decisions through

him. He was obviously the boss.” Tr.1129:3-6. The government proved at trial that Caroline’s

“CEO” title was an aspect of Mr. Bankman-Fried’s fraudulent scheme. Specifically, in summer

2021, Mr. Bankman-Fried concluded that “it was important to separate Alameda and FTX more

optically and not have him be too officially associated with Alameda,” so he appointed Caroline

to be the public face of Alameda Research as co-CEO. Tr.683:16-18. Caroline continued to

“handle[] a lot of day-to-day decisions and responsibilities” for Alameda’s market making and

proprietary trading businesses, but Caroline “would always ultimately defer to [Mr. Bankman-

Fried] if he thought that [Alameda] should do something.” Tr.687:6-9.

       Mr. Bankman-Fried unilaterally ran the aspect of Alameda’s business that most directly

led to its crisis. As Caroline testified, Mr. Bankman-Fried told Caroline in late 2021 “that he was

thinking of making $3 billion more of venture investments,” funded by billions more in open-term

loans from third-party lending desks. Tr.703:9-11. Caroline performed a scenario analysis,

embodied in a spreadsheet titled “NAV Minus SamCoins,” GX36, and concluded that “making $3

billion more of venture investments and funding that with open-term loans would put Alameda in

a significantly riskier position and make it much less likely or almost impossible that we would be

able to pay off [its] loans if all of [the] loans were called at once.” Tr.703:18-22. The analysis

assumed that in such a scenario, “Alameda would take FTX customer funds, if they were available,

to repay [its] loans.” Tr.705:9-10. Caroline advised Mr. Bankman-Fried that even if Alameda




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Research were to take FTX customer funds, “there was no way we would be able to” repay the

loans. Tr.725:19-20. Mr. Bankman-Fried did not dispute Caroline’s conclusions, but “he said that

he wanted to do it” because “it was high expected value,” Tr.704:25-705:1.

       Mr. Bankman-Fried and the “FTX Ventures” team implemented this plan in 2021-2022 by

routing FTX customer funds and the proceeds of open-term loans through Alameda Research and

into “several entities that had Alameda in the name.” Tr.869:15-20. Nevertheless, Mr. Bankman-

Fried called the investment fund “FTX Ventures” because “he wanted to associate himself more

with the venture investing but he didn’t want his name associated with Alameda’s name.”

Tr.731:19-25. Caroline was not (to her knowledge) an officer of most of those “ventures” entities,

and she generally had no material involvement (and no actual decision-making authority) over the

billions of dollars in “ventures”-related spending from Alameda’s coffers. Indeed, Mr. Bankman-

Fried and his FTX Ventures team stonewalled for months Caroline’s requests for information on

what these funds had even been used for, leading her to undertake in the summer and fall of 2022

an effort “to track loans that were made by Alameda to related parties and entities.” Tr.889:21-

22. Through her effort, Caroline and her team tracked down more than $8 billion in payments

from Alameda Research to those ventures-related entities, companies Mr. Bankman-Fried had

decided to acquire, political lobbying organizations, and FTX executives—billions of dollars to

Mr. Bankman-Fried and entities he controlled, hundreds of millions of dollars each to Mr. Singh

and Mr. Wang, and $35 million to Ryan Salame. See Tr.889-891; GX41.

       Caroline did not take any such loans from Alameda Research. 14          Nor did Caroline

personally receive ownership of any supposed “venture” investments. Compare, e.g., Tr.640:14-


       14
          A $3.5 million loan from Alameda was made in Caroline’s name “for a gambling
company that some people at FTX wanted to start,” and she “never really saw or used the money,”
because “[i]t went straight to … this gambling company.” Tr.689:1-7.


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17 (Wang); but see supra n.14. These facts distinguish Caroline from all the other defendants

indicted in connection with the crimes committed at Alameda Research and FTX. See Tr.688:18-

689:7; GX41 (spreadsheet listing intercompany and founder loans).                All of Caroline’s

compensation during her time at Alameda Research was paid to her at Mr. Bankman-Fried’s

discretion. Caroline did not pay herself any compensation or use corporate funds to purchase any

assets for herself. And Mr. Bankman-Fried pointedly refused to allow Caroline to acquire any

equity in Alameda Research, which was at all relevant times owned entirely by Mr. Bankman-

Fried and Mr. Wang. See Tr.685:23-686:8.

       Caroline also was not charged with participating in the campaign finance conspiracy

alongside Mr. Bankman-Fried, Mr. Salame, and Mr. Singh. See generally Dkt. 8 (indictment).

That distinction reflects that Caroline did not make any political donations on behalf of others, and

she did not direct Alameda to fund any political donations on her behalf.

       As the government argued in closing, Mr. Bankman-Fried’s “relationship with Caroline …

was important … to understand why he chose her as his front and as his deputy”: She was “[h]is

girlfriend, the person who deferred to him…—in that relationship [Mr. Bankman-Fried] had all

the power.” Tr.3123:11-16 (rebuttal summation). Caroline testified about how their “personal

and professional relationships affect[ed] each other,” and that she was “an unequal partner in

[their] relationship” because “the whole time [they] were dating he was also [her] boss at work.”

Tr.684:13-14, 934:14-21.

       Caroline was also woefully (and obviously) unprepared to take on the responsibilities of

running a multi-billion-dollar trading firm. Before starting at Alameda (at age twenty-three),

Caroline’s only prior full-time job was as an entry-level trader at Jane Street. See supra pp.12-14.

At Jane Street, Caroline had no experience supervising employees, handling client funds,




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allocating proprietary capital, managing financial risks, negotiating loan agreements, preparing

financial reports, or assessing legal compliance. See id. Nor did Caroline—who studied highly

abstract mathematics, linguistics, and computer science—ever receive any formal training in

business, law, compliance, or risk management beyond basic introductory sessions offered to all

new hires at Jane Street. Caroline’s relative ignorance on these topics was obviously unhelpful

when she faced pressure from Mr. Bankman-Fried to further and to conceal his illegality.

       Mr. Bankman-Fried exacerbated this situation by refusing to provide Caroline and her co-

CEO, Mr. Trabucco, with any personnel or resources that would have helped them assess Mr.

Bankman-Fried’s problematic instructions. For instance, when Caroline and Mr. Trabucco hired

a lawyer from outside the company to serve as Alameda Research’s general counsel, Daniel

Friedberg fired the attorney (on what Caroline understood to be Mr. Bankman-Fried’s behalf) a

few days after he arrived in the Bahamas, because that attorney had raised questions about the

links between Alameda Research and FTX. See First Amended Complaint, Alameda Research

LLC v. Friedberg, No. 23-AP-50419-JTD (Bankr. D. Del. Jan. 22, 2024) ¶¶181-184. Caroline

also recalls that Mr. Bankman-Fried would react negatively when an employee expressed fear or

raised concerns about legal issues, isolating that person by cutting him or her out of important

conversations and chat threads. Having seen this dynamic play out repeatedly, Caroline worried

that if she questioned Mr. Bankman-Fried about what they were doing, he would cut her out of his

life and companies in the same way.

       Caroline has never wavered in accepting responsibility for what she did at Alameda

Research and has always “truthfully admitted the conduct comprising the offense[s] of conviction

and truthfully admitted … additional relevant conduct.” United States v. Singh, 877 F.3d 107, 120

(2d Cir. 2017). Mr. Bankman-Fried did not coerce Caroline to commit crimes on his behalf, and




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Caroline could have refused to follow Mr. Bankman-Fried’s directions. However, Mr. Bankman-

Fried’s decision to install Caroline as the putative co-CEO of Alameda Research and his

exploitation of his emotional power and corporate authority are relevant context in understanding

Caroline’s participation in these crimes.

       C.      Affording Adequate Deterrence to Criminal Conduct and Protecting the
               Public from Further Crimes by the Defendant

       Caroline’s participation in the criminal conspiracies at Alameda Research is a dramatic

departure from her otherwise law-abiding nature. She poses no risk of recidivism. Sending

Caroline to prison is entirely unnecessary, either for specific deterrence or to safeguard the public.

       Caroline is unlikely to reoffend because she did not commit these crimes out of greed. The

most powerful evidence that Caroline did not act from avarice is that she did nothing to protect

herself from the collapse of FTX and Alameda Research, even though she knew as well as anyone

but Mr. Bankman-Fried what was likely to happen. Although Caroline was aware for years that

Alameda Research was secretly using FTX customer funds, she nevertheless kept substantially all

her assets in her FTX.com user account. Strikingly, Caroline never transferred any of her holdings

off of FTX.com after June 2022, by which point she knew that Alameda Research likely could not

pay back its FTX.com “borrowing.” Nor did Caroline make any significant purchases after (or

before) that point (other than the Anthropic investment, made in early 2022 to advance AI safety).

Caroline declined to protect her own funds from FTX’s collapse because she believed it would be

unfair to shield herself while FTX’s customers’ funds were in danger.

       Caroline similarly could have insulated herself from criminal jeopardy had she left

Alameda Research after she broke up with Mr. Bankman-Fried in late April 2022. To that point,

Caroline was similarly situated with her co-CEO, Mr. Trabucco, who has never been charged. But

Caroline stayed not out of greed, but out of misplaced duty, believing Mr. Bankman-Fried’s


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warning that her departure might precipitate a crisis of confidence in Alameda Research—and by

extension, in FTX. Caroline’s sister recalls her describing her reasons for staying, even though

“she would often cry about how overwhelmed she felt:

       First, if she had left, either someone else would have been saddled with all of the work she
       had, or the company would have completely fallen apart…. From an outsider’s
       perspective, it seemed like she should prioritize her own happiness and leave the company
       behind, but she viewed the company and the others there as just as important, and … she
       felt she would be betraying her friends if she did leave.
       Ex. C (A. Ellison) at 2.
Caroline’s reasons for staying obviously do not absolve the criminal acts she took as Alameda

Research sank further into financial oblivion. Yet her reasons for staying should inform whether

she acted from greed, lust for power, or another motivation that creates a risk she would reoffend.

       Finally, Caroline’s settlements with the SEC and CFTC—not to mention her ruined

reputation—further reduce the need to incarcerate her to protect the public or achieve specific

deterrence. See United States v. Adelson, 441 F.Supp.2d 506, 514 (S.D.N.Y. 2006) (holding that

a “reputation ruined by … conviction” and a bar on serving as a public company officer or director

reduce the need to incarcerate a fraud defendant to achieve specific deterrence). Pursuant to those

settlements, Caroline is barred for life from working in the traditional finance industry or trading

cryptocurrencies on behalf of anyone else. See supra pp.41-42. Caroline is also banned from

serving as an officer of any public company. These regulatory judgments therefore make it

exceedingly unlikely that Caroline could ever again occupy a position of trust where she could

commit another financial crime.




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       D.      Reflecting the Seriousness of the Offense, Promoting Respect for the Law,
               Providing Just Punishment and Compensation for Victims, and Avoiding
               Unwarranted Sentencing Disparities

       As the Court observed in sentencing Mr. Bankman-Fried, the fraud committed at FTX and

Alameda Research “was a very serious crime.” Dkt. 426 at 56:19-20. Caroline has never sought

to minimize its harm or her role.

       The evidence shows that Caroline was not motivated by greed and did not take steps to

personally profit at the expense of customers. Unlike others, she held no equity in Alameda, almost

no equity in FTX, did not take substantial personal loans to obtain equity stakes in venture

investments, and did not misuse corporate funds for political contributions in an effort to become

politically powerful. Unlike others, Caroline never bought real estate, yachts, or other luxury

goods using her own funds, let alone Alameda or FTX’s money. And critically, after Caroline

learned that Alameda’s borrowing would likely lead to distress at FTX, she did not withdraw any

money from her FTX.com user account. In doing so, Caroline consciously left herself vulnerable

to losing almost all of her savings generated while working at Alameda Research—just like FTX

customers.

       Once settlements with the government and the FTX Debtors are finalized, Caroline expects

she will not retain any financial benefit she obtained from working at Alameda Research. This

constitutes a significant punishment, since “[i]n the case of financial fraud, … an important kind

of retribution may be achieved through the imposition of financial burdens.” Adelson, 441 F. Supp.

2d at 514. Through her anticipated settlement with the FTX Debtors, Caroline will also surrender

any claim to the assets held in her FTX.com customer account, so unlike ordinary FTX customers

who will receive more than 100 cents on the dollar for their petition-date account balances, she

will recover nothing through the bankruptcy process. Caroline also has no reasonable prospect of



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rebuilding her financial position. She has been rendered effectively unemployable in the near term

by the notoriety arising from this case, and the reputational harm is not likely to abate any time

soon. And through her civil settlements with the SEC and CFTC, Caroline has accepted lifetime

bans from the only industries she has ever worked in: finance and crypto. These personal,

financial, and career consequences constitute substantial forms of punishment that reduce the need

for the Court to order her incarceration.

       Finally, sentencing Caroline to time served would promote respect for the law, because it

would incentivize people involved in a fraud to do what Caroline did: publicly disclose a fraud,

immediately accept responsibility, and cooperate immediately with civil and criminal authorities.

The Court has already communicated the seriousness of these crimes in sentencing Mr. Bankman-

Fried and Mr. Salame, and it remains to sentence Mr. Wang and Mr. Singh, who were partners

with Mr. Bankman-Fried in owning and operating FTX.com. But Caroline “provide[d] important

information for ongoing investigations and … furnish[ed] the most damaging testimony against

the accused at trial, … which [wa]s key to winning convictions” of other FTX executives. United

States v. Ming He, 94 F.3d 782, 787 (2d Cir. 1996). In recognition of Caroline’s substantial

assistance, the Probation Department has accordingly recommended a non-custodial sentence for

Caroline. While this case is distinct in the size of the fraud, this Court has repeatedly sentenced

cooperators in significant fraud cases to time served or other non-custodial sentences in recognition

of “the considerable value of [their] cooperation with the government,” where it was “was

essential … to making th[e fraud] case, and [so] served a real public interest.” United States v.

Gassnola, No. 1:18:cr-252-LAK (S.D.N.Y. Oct. 7, 2019) Dkt. 24 at 10:15-18 (sentencing fraud

cooperator to time served with two months’ home detention); see also, e.g., United States v.

Makov, No. 1:05-cr-888-LAK (S.D.N.Y. May 20, 2010) Dkt. 1495 (sentencing to probation a




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cooperator, who paid $10 million in forfeiture, was cross examined at trial for two days, and who

was a partner in a business that sold illegal tax shelters, where co-defendants were sentenced to as

much as 10 years’ incarceration); United States v. Fogel, No. 1:17-cr-308-LAK (S.D.N.Y. Nov.

27, 2018) Dkt. 83 (sentencing to time served a cooperator in an insider trading case); United States

v. Silvestre, No. 1:14-cr-72-LAK (S.D.N.Y. Feb 23, 2014) Dkt. 24 (sentencing to time served a

cooperator in a “very serious” health care fraud whose cooperation “started right away” and was

“extraordinarily valuable”). Moreover, because many other cooperators in complex fraud cases

have received time-served sentences in this district, a non-custodial sentence would not create any

unwarranted disparities.

VII.    CONCLUSION

        The Probation Department has recommended that the Court sentence Caroline to time

served with a period of supervised release. In light of Caroline’s contrition, her immediate and

complete acceptance of responsibility, her extraordinarily impactful cooperation—with the U.S.

Attorney’s Office, with the SEC and CFTC, with the FTX Debtors, with the MDL plaintiffs, and

with other official investigations—and her three days of credible testimony at Mr. Bankman-

Fried’s trial, the section 3553(a) sentencing factors do not require sending Caroline to prison.

Rather, a sentence of time served with a period of supervised release would be sufficient, but not

greater than necessary to fulfill the objectives of sentencing.

Dated: New York, New York
       September 10, 2024
                                                   Respectfully submitted,

                                                   /s/ Anjan Sahni
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 10, 2024 the foregoing document and its exhibits were

served electronically to all parties of record by the CM/ECF system and that I caused sealed copies

of the foregoing document and its exhibits to be served by email to counsel for the government.



                                                            /s/ Anjan Sahni
                                                            Anjan Sahni
September 10, 2024
